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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov

In re:
                                                     Case No. 19-15082-AJC
JHONNY PEREZ,                                        Chapter 7

                  Debtor.
                                              /

TAKE-TWO INTERACTIVE SOFTWARE,                       Adv. Pro. No.
INC.,

                  Plaintiff,
v.

JHONNY PEREZ,

                  Defendant.
                                              /

                     COMPLAINT TO DETERMINE DISCHARGEABILITY
                        OF DEBT PURSUANT TO 11 U.S.C. § 523(a)(6)

            Take-Two Interactive Software, Inc. (“Take-Two”), by and through its undersigned

counsel, hereby files this complaint (the “Complaint”) against Jhonny Perez (“Defendant” or

“Debtor”) and in support thereof, respectfully states as follows:

                                     NATURE OF ACTION

            1.    This is an adversary proceeding pursuant to Federal Rules of Bankruptcy

Procedure 4007 and 7008 (the “Bankruptcy Rules”) seeking a determination that the judgment

(the “Judgment”), in an amount not less than $216,868.95, which was awarded to Take-Two by

the District Court for the Southern District of New York (the “District Court”) in the copyright

infringement action styled Take-Two Interactive Software, Inc. v. Jhonny Perez, Case No. 1:18-

cv-7658-PKC (the “District Court Action”), is excepted from discharge pursuant to section

523(a)(6) of title 11 of the United States Code (the “Bankruptcy Code”).
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            2.   On August 22, 2018, Take-Two commenced the District Court Action against the

Debtor. Take-Two’s complaint in the District Court Action alleged four causes of action: (a)

direct copyright infringement (17 U.S.C. § 101 et seq.), (b) contributory copyright infringement

(17 U.S.C. § 101 et seq.), (c) breach of contract, and (d) tortious interference with a contract. In

its complaint (the “District Court Complaint”), Take-Two specifically alleged, among other

things, that Debtor’s copyright infringement was willful and in utter disregard of Take-Two’s

rights. Debtor, however, never answered or otherwise defended against the District Court

Action and thus defaulted.

            3.   Take-Two subsequently moved for default judgment seeking statutory damages

and its reasonable attorney’s fees, which the Court granted on February 4, 2019. The District

Court’s order granting Take-Two’s motion specifically found that Debtor’s infringement was

willful.

            4.   In an apparent attempt to avoid Take-Two’s Judgment, Debtor has now filed for

bankruptcy under Chapter 7.        As explained further below, Take-Two’s Judgment is non-

dischargeable as it is a debt for willful and malicious injury caused by the Debtor within the

meaning of section 523(a)(6) of the Bankruptcy Code.

                                  JURISDICTION AND VENUE

            5.   On April 19, 2019, the Debtor filed a voluntary petition (the “Petition”) for relief

under chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern

District of Florida, Miami Division (the “Court”).

            6.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

            7.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b) and

1334(b). This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (I), (O) and section

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523 of the Bankruptcy Code because this is a proceeding to determine the dischargeability of a

particular debt.

                                             PARTIES

            8.    Take-Two is a Delaware corporation having its principal place of business in the

State of New York.

            9.    Take-Two is the developer, publisher, and copyright owner of best-selling video

games, including the Red Dead, Max Payne, and Grand Theft Auto series.

            10.   Take-Two is a judgment creditor of the Debtor.

            11.   Defendant is the Debtor in the captioned bankruptcy case and resides at 3000 SW

3rd Ave Apt. 905, Miami, FL 33129. See Petition, Case No. 19-15082-AJC, Doc. No. 1.

                                   FACTUAL BACKGROUND

I.          Introduction

            12.   By this Complaint, Take-Two seeks a determination that the Judgment awarded to

Take-Two for damages suffered as a result of, among other things, the Debtor’s intentional,

willful, and malicious infringement of Take-Two’s valuable intellectual property rights in and to

its world-famous video games is not dischargeable pursuant to section 523(a)(6) of the

Bankruptcy Code. A true and correct copy of the Judgment is attached hereto as Exhibit A and

is incorporated by reference herein.

            13.   The Debtor—acting in concert with two individuals in Europe—created,

distributed, and/or maintained a computer program called “Elusive” that alters Take-Two’s

Grand Theft Auto video games (the “Infringing Program”). The Infringing Program is a cheating

and “griefing” tool that allows users to perform unauthorized actions in Take-Two’s Grand Theft

Auto V (“GTAV”) multiplayer feature Grand Theft Auto Online (“GTAO”). These unauthorized


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actions can be used to benefit the person who installed the program or to the detriment of others

playing in the same multiplayer session.

            14.    Upon information and belief, in a deliberate attempt to profit from Take-Two’s

valuable intellectual property, the Debtor sold the Infringing Program to users who then altered

Take-Two’s video games. These alterations were intended to, and did, allow users to cheat while

playing Take-Two’s games, both to (a) create benefits for themselves within the game that they

have not purchased or earned or (b) to alter the games of other players in the same gaming

session without authorization. As a result, the Infringing Program disrupted the user experience

that was designed by Take-Two, resulting in further harm to Take-Two and its users.

            15.    The Debtor was well aware that the Infringing Program was unauthorized and

infringed Take-Two’s rights. As set forth in more detail below, counsel for Take-Two contacted

the Debtor and his attorney1 at least ten (10) times prior to filing the District Court Action in an

attempt to resolve the parties’ dispute.            The Debtor and his attorney ultimately stopped

responding to Take-Two, leading to Take-Two’s understanding, upon information and belief,

that the Debtor would continue to infringe Take-Two’s rights.

            16.    In sum, the Debtor intentionally, willfully, and maliciously infringed Take-Two’s

copyrights and caused Take-Two injury by profiting from the violation of Take-Two’s

copyrights, End User License Agreement (the “User Agreement”), and Terms of Service

Agreement (the “Terms of Service Agreement”). A true and correct copy of the User Agreement

is attached hereto as Exhibit B and is incorporated by reference herein. A true and correct copy

of the Terms of Service Agreement is attached hereto as Exhibit C and is incorporated by

reference herein.

1
    The Debtor’s current attorney did not represent him in the District Court Action.

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II.         Take-Two and Its Award-Winning Video Games

            17.   As stated above, Take-Two is the developer, publisher and copyright owner of

best-selling video games, including the Red Dead, Max Payne, and Grand Theft Auto series.

Take-Two’s games are widely recognized as some of the most popular and innovative games

available on the market, and Take-Two has earned numerous awards both in the United States

and abroad. Take-Two has invested vast resources, including time, effort, talent, creativity, and

money to produce its video games. Its games have legions of fans throughout the world, making

Take-Two one of the world’s most popular video game publishers.

            18.   GTAV has been registered with the Copyright Office. A true and correct copy of

the Certificate of Registration issued by the U.S. Copyright Office for GTAV is attached hereto

as Exhibit D and is incorporated by reference herein.

            19.   GTAV is a video game that was the product of Take-Two’s skills, resources, and

creative energies. It is of great value to Take-Two.

            20.   Take-Two is, and at all times material herein was, the sole owner and proprietor

of all right, title, and interest in and to the copyrights in GTAV. The copyrights in GTAV are

presently valid and subsisting and were valid and subsisting at all times affecting the matters

complained of herein.

            21.   To play Take-Two’s video games, including GTAV and GTAO, users must agree

to the terms of the User Agreement. Among the terms set forth in the User Agreement, are that

users are (a) “not to . . . prepare derivative works based on, or otherwise modify the Software, in

whole or in part,” (b) “not to . . . restrict or inhibit any other user from using and enjoying any

online features of the Software,” and (c) “not to . . . cheat (including but not limited to utilizing




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exploits or glitches) or utilize any unauthorized robot, spider, or other program in connection

with any online features of the Software.” See Exhibit B, at 1.

            22.   The permission that Take-Two grants users to play its games is expressly

conditioned on these terms. As a result, if a user breaches these conditions, his use of Take-

Two’s video game is no longer authorized, including the reproduction of the GTAV software in

the user’s computer or console. In other words, continuing to play GTAV after breaching these

provisions of the User Agreement not only constitutes a breach of the User Agreement, but also

copyright infringement.

III.        The Debtor’s Conduct and the Infringing Program

            23.   As stated above, the Debtor—acting in concert with two individuals in Europe—

created, distributed, and/or maintained the Infringing Program. The Infringing Program allows

users to perform unauthorized actions, including without limitation, affecting in-game content

and abilities of themselves and other players. In other words, the Debtor’s creation and use of

the Infringing Program altered and created derivative works based on GTAV, which were used

to alter the game for the benefit of the user or to “grief” other players by altering their games

without permission.

            24.   As a result, the Debtor not only breached Take-Two’s User Agreement, he also

infringed Take-Two’s copyrights in two ways: first by continuing to use GTAV after breaching

those conditions and second by creating an unauthorized derivative work based on GTAV.

            25.   Upon information and belief, to acquire the Infringing Program’s bundled

cheating tools and features, users could purchase unauthorized features from the Debtor at

different price ranges from $10 to $30 depending on the package. Users could pay the Debtor

through PayPal or other forms of payment, including Steam and Amazon gift card keys.

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            26.   Debtor admitted to Take-Two in correspondence between counsel for Take-Two

and the Debtor that he participated in the Infringing Program scheme because he was “issued

keys to sell on a weekly basis for which the proceeds were to be kept by [him].”2 A true and

correct copy of the e-mail correspondence between counsel to Take-Two, the Debtor and as set

forth below, the Debtor’s attorney, is attached hereto as Exhibit E and is incorporated by

reference herein. The Debtor further admitted that “[he] moderated the discord when it was

online.” See Ex. E at 10.

            27.   The Debtor knew that he did not have Take-Two’s permission to create,

distribute, and/or maintain the Infringing Program. Take-Two contacted the Debtor several

times in the months prior to the commencement of the District Court Action, demanding that he

discontinue his participation in the Infringing Program and in similar cheating tools and services.

See Ex. E.

            28.   Upon learning that the Debtor retained a lawyer, on April 6, 2018, counsel for

Take-Two contacted the Debtor’s attorney, asking “[w]ould Mr. Perez and [he] agree to a phone

call with [Take-Two] to discuss Mr. Perez’s involvement with the Elusive mod menu?” and

further noted that “Mr. Perez’s cooperation is a requirement to settle this matter amicably.” See

Ex. E at 22.

            29.   As part of this process, Take-Two requested financial documents from the Debtor

that would show how much the Debtor profited from the Infringing Program. Again, the Debtor

was not forthcoming. As early as May 24, 2018, Take-Two asked the Debtor’s lawyer if, “[p]er

our conversation yesterday, is Jhonny going to provide his PayPal records and screenshots of the


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   Upon information and belief, the “keys” were codes that would unlock access to the Infringing
Program.

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services he used to sell Elusive keys?” See Ex. E at 6. On August 9, 2018, after his repeated

failure to share this information, counsel for Take-Two again contacted counsel for the Debtor

noting “[w]e still have not received Jhonny Perez’s financial documents reflecting the money he

made from selling Elusive keys, which we requested nearly four months ago on April 16. Please

advise your client that if we do not receive his financial documents by Thursday, August 16, we

will be filing the attached complaint in the Southern District of New York on Friday, August

17.” See Ex. E at 2. Counsel for Take-Two subsequently emailed Debtor’s counsel on August

17, 2018 extending the deadline to August 20, 2018 and noting that another Court recently found

that Take-Two was “likely to succeed on the merits against a similar mod menu infringer and

[that the Court] enjoined the infringer’s conduct.” See Ex. E at 3. Counsel for Take-Two

attached the Court’s decision for Debtor’s attorney to review. The Debtor’s attorney did not

respond.

            30.   On August 22, 2018, the date the District Court Complaint was filed, Take-Two

again emailed the Debtor’s attorney offering that, “[i]f Mr. Perez will produce his financial

documents as we previously requested, we will hold off on service of [the Complaint].” See Ex.

E at 1. Take-Two again received no response from the Debtor’s attorney.

            31.   On September 11, 2018, Take-Two, which had still not served the District Court

Complaint on the Debtor, made a final effort to avoid litigation. Id. Again, Debtor’s counsel did

not respond.

            32.   In all, Take-Two contacted the Debtor and/or his counsel in the District Court

Action at least ten (10) times in an effort to resolve this dispute.




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IV.         The Harm to Take-Two

            33.   As set forth above, Take-Two produces video games for which it receives revenue

from video game sales and purchases within the game.

            34.   The Debtor’s willful infringement robbed Take-Two of these revenues. The

Infringing Program (a) allowed the Debtor to profit commercially without paying Take-Two and

(b) devalued and caused substantial harm to the value of GTAV. Thus, Take-Two has been

damaged by the Debtor’s conduct.

V.          The District Court Action & Judgment Against the Debtor for Intentional and
            Willful Copyright Infringement

            35.   On August 22, 2018, Take-Two commenced the District Court Action against the

Debtor. The District Court Complaint alleged (a) direct copyright infringement (17 U.S.C. § 101

et seq.), (b) contributory copyright infringement (17 U.S.C. § 101 et seq.), (c) breach of contract,

and (d) tortious interference with a contract. A true and correct copy of the District Court

Complaint and its accompanying exhibits is attached hereto as Exhibit F and is incorporated by

reference herein.

            36.   In the District Court Complaint, Take-Two repeatedly alleged that Debtor’s

infringement was willful. See Ex. F at ¶ 1 (“This action seeks to recover damages that Take-Two

has suffered and to prevent the irreparable harm that threatens Take-Two as a result of [Debtor’s]

willful infringement of Take-Two’s valuable intellectual property rights. . .”), ¶ 3 (“Take-Two

demanded that [Debtor] cease his willful and infringing conduct. . .”), ¶ 4 (“In sum, [Debtor] has

knowingly, intentionally, and willfully infringed Take-Two’s copyrights.”), ¶ 5 (“[D]ue to

[Debtor’s] blatant and willful infringement and refusal to cooperate with Take-Two, Take-Two

has no choice but to file this lawsuit. . .”), ¶ 38 (“[Debtor’s] willful infringement robs Take-Two



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of these revenues.”), ¶ 46 (“[Debtor’s] infringement of Take-Two’s copyrights has been

deliberate, willful, and in utter disregard of Take-Two’s rights.”), ¶ 50 (“Take-Two also is

entitled to recover statutory damages for [Debtor’s] willful infringement of its copyrights.”),

¶ 59 (“[Debtor’s] contributory infringement of Take-Two’s copyrights has been deliberate,

willful and in utter disregard of Take-Two’s rights.”), ¶ 63 (“Take-Two also is entitled to

recover statutory damages for [Debtor’s] willful contributory infringement of its copyrights.”),

pgs. 18–19 (“WHEREFORE, Plaintiff Take-Two respectfully requests judgment against

[Debtor] as follows: . . . Enter judgment for Take-Two against [Debtor] for statutory damages

based upon [Debtor’s] willful acts of infringement pursuant to the Copyright Act, 17 U.S.C.

§ 101 et seq.”).

            37.    The Debtor did not answer or otherwise defend against the District Court Action

and defaulted, admitting his willful infringement. On November 21, 2018, the Clerk of Court for

the Southern District of New York issued a certificate of default in the District Court Action (the

“Certificate of Default”). A true and correct copy of the Certificate of Default is attached hereto

as Exhibit G and incorporated by reference herein.

            38.    On December 4, 2018, Take-Two filed a motion, together with a memorandum of

law in support, requesting entry of a default judgment against the Debtor (collectively, the

“Motion for Default Judgment”). In the Motion for Default Judgment, Take-Two elected to

recover statutory damages for Debtor’s willful infringement in the amount of $150,000.00 and

also requested reasonable attorney’s fees of $69,686.95 incurred in connection with the

prosecution of the District Court Action. A true and correct copy of Take-Two’s memorandum

of law in support of its Motion for Default Judgment is attached hereto as Exhibit H and is

incorporated by reference herein.

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            39.    On February 4, 2019, the District Court issued its Judgment finding the Debtor

liable to Take-Two for: (a) “willfully and directly infringing Take-Two’s copyrights in GTAV”;

(b) “willfully and contributorily infringing Take-Two’s copyrights in GTAV”; (c) breach of

Take-Two’s User Agreement; and (d) tortious interference with Take-Two’s contracts with its

other GTAV players. See Ex. A.

            40.    The District Court also issued a permanent injunction against the Debtor and all

persons, firms, and corporations acting in concert with him, finding that Take-Two has been

irreparably harmed by the Debtor’s conduct because the Infringing Program (a) “creates new

features and elements in Grand Theft Auto which can be used to harm legitimate players, causing

Take-Two to lose control over its carefully balanced plan for how its video game is designed to

be played,” (b) “harms Take-Two's reputation for maintaining its gaming environment,

discouraging users from future purchases and gameplay,” and (c) “because the Infringing

Program allows its users to create unlimited virtual currency—which can then be used to

purchase in-game items in Take-Two's game—it undermines Take-Two’s pricing and sales of

legitimate virtual currency.” Ex. A at ¶ 8 and at 3.

            41.    Further, based on the “extent of the planning, intent and willfulness” of the

Debtor’s conduct, the District Court ordered the Debtor to pay Take-Two the sum of

$150,000.00 in statutory damages pursuant to 17 U.S.C. § 504(c)(2) and $66,868.95 in attorney’s

fees pursuant to 17 U.S.C. § 505. Ex. A at 3.

VI.         The Bankruptcy Case

            42.    The Debtor filed his Petition approximately six weeks after the Judgment was

entered. Together with the filing of the Petition, the Debtor filed his schedules of assets and




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liabilities (the “Schedules”) and statement of financial affairs. See Schedules, Case No. 19-

15082-AJC, Doc. No. 1.

            43.    On Schedule E/F, the Debtor scheduled (a) a general unsecured debt of

$150,000.00 in favor of Take-Two and (b) a general unsecured debt of $66,868.95 for legal fees

in favor of Kirkland & Ellis. See Sch. E/F, Case No. 19-15082-AJC, Doc. No. 1. Per the

Judgment, these debts should have been scheduled as one debt totaling $216,868.95 in favor of

Take-Two, as both scheduled debts relate to the District Court Action and Judgment.

            44.    On May 22, 2019, the Debtor attended his duly noticed meeting of creditors,

which was held pursuant to section 341(a) of the Bankruptcy Code.

            45.    The Court has fixed July 22, 2019 as the last day to object to the dischargeability

of certain debts. Thus, this Complaint is timely filed.

            46.    To date, the Debtor has not been granted a discharge.

            47.    As in the District Court Action, after the Debtor filed his Petition, counsel for

Take-Two made repeated attempts to engage the Debtor and his bankruptcy counsel in an effort

to resolve this dispute. They have rebuffed those efforts.

            48.    Pursuant to the terms of the User Agreement and the Terms of Service

Agreement, Take-Two is entitled to attorney’s fees in this Adversary Proceeding. See Exs. B

and C.

                                        CLAIM FOR RELIEF

                    NON-DISCHARGEABILITY OF TAKE-TWO’S
            JUDGMENT UNDER SECTION 523(a)(6) OF THE BANKRUPTCY CODE

            49.    Take-Two repeats and re-alleges each and every allegation set forth in paragraphs

1 through 48 of this Complaint as if fully set forth herein.


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            50.    Bankruptcy Code § 523(a)(6) provides, in relevant part, that “A discharge under

section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title does not discharge an individual

debtor from any debt . . . for willful and malicious injury by the debtor to another entity or to

the property of another entity.”

            51.    The Debtor knew at the time of his intentional actions that injury to Take-Two

was substantially certain to result.

            52.    The Debtor’s intentional infringement of a copyright is sufficient to establish that

he subjectively desired to harm Take-Two as owner of the copyright.

            53.    The Debtor’s conduct giving rise to the Judgment was therefore willful.

            54.    Moreover, the Debtor’s intent and willfulness already was determined in the

District Court Action.

            55.    The Debtor’s conduct was without just cause or excuse and resulted in actual

harm to Take-Two.

            56.    The Debtor’s conduct giving rise to the Judgment was therefore malicious.

            57.    Where a debtor has been held liable for intentional infringement of intellectual

property without just cause and has actually harmed property belonging to another, the resulting

debt falls squarely within the meaning of section 523(a)(6) of the Bankruptcy Code and is non-

dischargeable.

            58.    All of the debt owed to Take-Two, as evidenced by the Judgment, is non-

dischargeable as it is a debt for willful and malicious injury caused by the Debtor within the

meaning of section 523(a)(6) of the Bankruptcy Code.

            59.    When a debt is non-dischargeable pursuant to section 523(a) of the Bankruptcy

Code, the attorney’s fees and costs associated with that debt are likewise non-dischargeable.

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            WHEREFORE, Plaintiff Take-Two respectfully requests that this Court enter an order:

                    (a) declaring that the Debtor’s liability to Take-Two under
                    the Judgment in the District Court Action is excepted from
                    discharge pursuant to section 523(a)(6) of the Bankruptcy
                    Code;

                    (b) awarding attorney’s fees and costs incurred in
                    connection with this Adversary Proceeding; and

                    (c) granting Take-Two such other and further relief as this
                    Court may deem just and proper.

Dated: July 22, 2019                           Respectfully submitted,

                                               BERGER SINGERMAN LLP
                                               Co-Counsel for Plaintiff
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      EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 TAKE-TWO INTERACTIVE SOFTWARE                      CASE NO. 1:18-cv-07658 (PKC)
 INC.,

                         Plaintiff,
                                                    [         ] ORDER GRANTING
        v.                                          PLAINTIFF TAKE-TWO
                                                    INTERACTIVE SOFTWARE, INC.'S
 JHONNY PEREZ,                                      MOTION FOR DEFAULT JUDGMENT

                         Defendant.


       THIS CAUSE is before the Court on Plaintiff Take-Two Interactive Software, Inc. 's

("Take-Two") Motion for Default Judgment (the "Motion") against Defendant Jhonny Perez

("Mr. Perez"). Having considered the Motion, the Court hereby finds as follows:

       1.        This Court has subject matter jurisdiction over Take-Two's copyright claims

pursuant to 28 U.S.C. §§ 1331 and 1338. This Court also has supplemental jurisdiction over

Take-Two's state law claims pursuant to 28 U.S.C. § 1367(a) because those claims are

substantially related to Take-Two's federal claims.

       2.        This Court has personal jurisdiction over Mr. Perez and venue is proper in this

District, because, among other things, Mr. Perez consented to personal jurisdiction and venue in

this District via his agreement to the forum selection provision contained in Take-Two's User

Agreement.

       3.        Take-Two's Complaint states claims for direct and contributory copyright

infringement in violation of 17 U .S.C. § 101 et seq., breach of contract, and tortious interference

with contract.

       4.        Mr. Perez has failed to answer or otherwise defend against Take-Two's

Complaint in this actlon.
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       5.       A Certificate of Default was issued on November 21, 2018. (Dkt. No. 19).

       6.       Mr. Perez is not a minor, incompetent person, or in active military service.

       7.       By reason of default, Mr. Perez has admitted the truth of the allegations in Take-

Two 's Complaint.

       8.       Take-Two has been irreparably harmed by Mr. Perez's infringing conduct and

will continue to be harmed unless enjoined. First, Mr. Perez's Elusive program (the "Infringing

Program") creates new features and elements in Grand Theft Auto which can be used to harm

legitimate players, causing Take-Two to lose control over its carefully balanced plan for how its

video game is designed to be played. Second, the Infringing Program harms Take-Two's

reputation for maintaining its gaming environment, discouraging users from future purchases and

gameplay. Third, because the Infringing Program allows its users to create unlimited virtual

currency-which can then be used to purchase in-game items in Take-Two's game-it

undermines Take-Two's pricing and sales oflegitimate virtual currency. These harms are not

quantifiable. Take-Two has no way of knowing how much revenue it has lost and will continue

to lose as a result of Mr. Perez's Infringing Program.

       9.       The balance of hardships favors Take-Two. In contrast to the harm that Take-

Two will suffer, there is no evidence of any injury to Mr. Perez. In particular, the inability to

continue infringing a copyrighted work is not a legally cognizable harm. See e.g.,

SimplexGrinnell LP v. Integrated Sys. & Power, Inc., 642 F. Supp. 2d 167, 197 (S.D.N.Y. 2009).

Thus, there will be no injury to Mr. Perez caused by entry of a permanent injunction requiring

Mr. Perez to cease his infringing conduct.

       10.      Entry of a permanent injunction against Mr. Perez is in the public interest.




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NOW, THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED THAT:

       (a)      Under Count I of the Complaint, Mr. Perez is liable to Take-Two for willfully and

directly infringing Take-Two's copyrights in GTAV.

       (b)       Under Count II of the Complaint, Mr. Perez is liable to Take-Two for willfully

and contributorily infringing Take-Two's copyrights in GTAV.

       (c)      Under Count III of the Complaint, Mr. Perez is liable to Take-Two for breach of

Take-Two's User Agreement.

       (d)      Under Count IV of the Complaint, Mr. Perez is liable to Take-Two for tortious

interference with Take-Two's contracts with its other GTAV players.

              Mr. Perez is ordered to pay to Take-Two the sum of $150,000.00 in statutory
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damages, pursuant to 17 U.S.C. § 504(c)(2), an             in attorney's fees, pursuant to 17

U.S.C. § 505 for which let execution issue forthwith.

       (f)      Mr. Perez and all persons, firms, and corporations acting in concert with him are

permanently enjoined and restrained from directly or indirectly infringing Take-Two's

copyrights, including, but not limited to, (a) creating derivative works based upon any portion of

Take-Two's video games, including Grand Theft Auto V; (b) producing or distributing any

computer programs that alter Take-Two's games, including without limitation Elusive; and

(c) from participating or assisting in any such activities.

       (g)      This Order shall take effect immediately.

       (h)       The Court shall retain jurisdiction to entertain such further proceedings and to

enter such further orders as may be necessary or appropriate to implement and/or enforce the

provisions of this Order.

       (i)       The Clerk is directed to terminate the Motion and close the case.



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                        })~        ~~ ,?:~.q
DONE AND ORDERED this :_J__ day of __~----+---· ~~.




                                              United States District Judge




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                             TERMS OF SERVICE
                                                 REVISED: JULY 27, 2018




                                             TERMS & CONDITIONS
    This document constitutes an agreement (the "Agreement") between you and the United States company Rockstar
    Games, Inc., its parent Take-Two Interactive Software, Inc., subsidiaries, and affiliates, (the "Company," "we," "us," and
    "our") that governs the relationship between you and the Company with respect to your use of the Online Services. The
    Company provides access to the Online Services and any related services subject to your compliance with this
    Agreement. Thus, it is important that you carefully read and understand this Agreement.

    The terms and conditions herein are in addition to and supplement the End User License Agreement at
    www.take2games.com/eula that governs the use of all software and services distributed by the Company.

    Description Of Online Services
    Trademark And Copyright Information
    Submissions
    Code Of Conduct
    Limited License By The Company
    License To The Company
    Making Purchases
    Ringtones, Wallpapers, And Other Mobile Device Services & Products
    Virtual Currency And Virtual Goods
    Warranty Disclaimer
    Void Where Prohibited
    Your responsibility to the Company
    Litigation Issues
    Termination
    Miscellaneous
    Designated Agent Under the Digital Millenium Copyright Act
    Repeat Infringer Policy




                                      DESCRIPTION OF ONLINE SERVICES
    Subject to full compliance with this Agreement, the Company may offer to provide certain products, services, and
    websites accessed through internet-capable hardware platforms including gaming consoles, personal computers,
    mobile computers, or mobile devices, or in-game applications or software platforms including third-party hosts
    (collectively the "Online Services"). Online Services shall include, but not be limited to, any service or content the
    Company provides to you, including any materials displayed or performed. The Company may change, suspend or
    discontinue the Online Services,including the availability of any feature or content, on thirty days’ notice, or immediately
    for any reason beyond the Company’s reasonable control, or if you breach any term of an agreement or policy
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    governing the Software, including this Agreement, Licensor's Privacy Policy and/or Licensor's Terms of Service. The
    Company may also impose limits on certain features and services or restrict your access to parts or all of the Online
    Services without notice.




                            TRADEMARK AND COPYRIGHT INFORMATION
    All Online Services material, including, but not limited to, text, data, graphics, logos, button icons, images, audio clips,
    video clips, links, digital downloads, data compilations, and software is owned, controlled by, licensed to, or used with
    permission by the Company and is protected by copyright, trademark, and other intellectual property rights. The Online
    Services material is made available solely for your personal, non-commercial use and may not be copied, reproduced,
    republished, modified, uploaded, posted, transmitted, or distributed in any way, including by email or other electronic
    means, without the express prior written consent of the Company in each instance. You may download material
    intentionally made available for downloading through the Online Services for your personal, non-commercial use only,
    provided that you keep intact any and all copyright and other proprietary notices that may appear on such materials.




                                                     SUBMISSIONS
    The Company welcomes input from the gaming community. You hereby grant the Company an exclusive, perpetual,
    irrevocable, fully transferable, and sub-licensable worldwide right and license to use any submissions you submit to the
    Company of any nature whatsoever, whether through a posting on a Company website, email to the Company, mail, or
    any other means and without any obligation to account, credit, or make any payment to you for any use thereof. No
    purported reservation of rights incorporated in or accompanying any submission shall have any force or effect.




                                                CODE OF CONDUCT
    The following rules, policies, and disclaimers shall govern and/or apply to your use of the Online Services.

    You agree, by using the Online Services, that: (1) you will only use the Online Services for lawful purposes, in
    compliance with applicable laws, for your own personal, non-commercial use; (2) you will not restrict or inhibit any other
    user from using or enjoying the Online Services (for example, by means of harassment, hacking, interfering, adversely
    affecting, or defacement); (3) you will not use the Online Services to create, upload, or post any material that is
    knowingly false and/or defamatory, inaccurate, abusive, vulgar, obscene, profane, hateful, harassing, sexually oriented,
    threatening, invasive of one’s privacy, in violation of any law, or is inconsistent with community standards; (4) you will
    not post, upload, or create any copyrighted material using the Online Services unless you own the copyright in and to
    such material; (5) you will not post, upload, or transmit any information or software that modifies or alters the Online
    Services in any way or that contains a virus, worm, timebomb, cancelbot, trojan horse or other harmful, disruptive, or
    deleterious component; (6) you will not post, upload, create, or transmit materials in violation of another party’s
    copyright or other intellectual property rights; (7) you will not cheat or utilize any unauthorized robot, spider, or other
    program in connection with the Online Services; (8) you will not impersonate any other individual or entity in connection
    with your use of the Online Services, and (9) you will not provide assistance, guidance, or instruction to any other
    individual or entity regarding any of the above. All determinations will be made by the Company in its sole discretion.

    When we provide Online Services involving user-created content ("UGC"), we do not review every piece of UGC, nor do
    we confirm the accuracy, validity, or originality of the UGC posted. We do not actively monitor the contents of the
    postings, nor are we responsible for the content of any postings. We do not vouch for, nor do we warrant the validity,
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    accuracy, completeness, or usefulness of any UGC. The contents of the postings do not represent the views of the
    Company, its subsidiaries, or any person or property associated with the Company, the Online Services, or any website
    in the Company’s family of websites. If you feel that any posting is objectionable, we encourage you to use associated
    report functions or contact us by visiting www.take2games.com/support. We will remove objectionable content if we
    deem removal to be warranted. Please understand that removal or editing of any content is a manual process and
    might not occur immediately or at all. The Company is not responsible for any content posted, or actions taken, by any
    other User that impacts you or your use of the Online Services. We reserve the right to remove (or not) any UGC or
    content for any (or no) reason whatsoever. You remain solely responsible for your UGC, and you will accordingly be
    responsible and liable to the Company and its agents with respect to any claim based upon the transmission of your
    UGC. Posting of advertisements, chain letters, pyramid schemes, solicitations, the same note more than once or
    “spamming,” and the like, are inappropriate and forbidden on the Online Services (including bulletin boards and chat
    rooms).

    To the fullest extent allowed by applicable law, your use of the Online Services is at your own risk and the Company is
    not responsible for any loss, damage, or unsatisfactory performance related to the Online Services.

    We reserve the right to reveal your identity (including whatever information we know about you) without notice to you in
    certain circumstances set forth in our Privacy Policy. Please visit www.take2games.com/privacy for more details.




                                      LIMITED LICENSE BY THE COMPANY
    The Company grants you a limited, non-sublicensable license to access and use the Online Services. Such license is
    subject to this Agreement and, as applicable, the software EULA located at www.take2games.com/eula, and
    specifically conditioned upon the following: (i) you may only view, copy and print portions of the Online Services for
    your own informational, personal and non-commercial use; (ii) you may not modify or otherwise make derivative uses of
    the Online Services, or any portion thereof; (iii) you may not remove or modify any copyright, trademark, or other
    proprietary notices that have been placed in the Online Services; (iv) you may not use any data mining, robots or similar
    data gathering or extraction methods; (v) you may not use the Online Services other than for their intended purpose; (vi)
    you may not reproduce, prepare derivative works from, distribute, frame, “mirror,” or display the Online Services,
    except as provided herein; and (vii) you must not violate the Code of Conduct set forth above.

    Except as expressly permitted above, any use of any portion of the Online Services without the prior written permission
    of the Company is strictly prohibited and will terminate the license granted herein. Any such unauthorized use may also
    violate applicable laws, including without limitation copyright and trademark laws and applicable communications
    regulations and statutes. Unless explicitly stated herein, nothing in this Agreement may be construed as conferring any
    license to intellectual property rights, whether by estoppel, implication or otherwise. This license is revocable at any
    time.

    You represent and warrant that your use of the Online Services will be consistent with this license, the EULA, and any
    other applicable agreements or policies, and will not infringe or violate the rights of any other party or breach any
    contract or legal duty to any other parties, or violate any applicable law. You will be responsible and liable to the
    Company in respect of any liability that the Company suffers arising out of your use of Online Services not in
    accordance with this Agreement. To request permission for uses of the Online Services not included in the foregoing
    license, you may write to the Company at webmaster@take2games.com.




                                         LICENSE TO THE COMPANY
    By creating UGC, posting messages, uploading files, creating files, inputting data, or engaging in any form of
    communication with or through the Online Services, you are granting the Company a royalty-free, perpetual, non-

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    exclusive, unrestricted, worldwide license to: (1) use, copy, sublicense, adapt, transmit, publicly perform, or display any
    such material; and (2) sublicense to third-parties the unrestricted right to exercise any of the foregoing rights granted
    with respect to the material. The foregoing grants shall include the right to exploit any proprietary rights in such
    material, including but not limited to rights under copyright, trademark, service mark, or patent laws under any relevant
    jurisdiction. Please consult the EULA at www.take2games.com/eula for additional license terms related to our software.




                                              MAKING PURCHASES
    If you wish to purchase products or services described in the Online Services, you may be asked to supply certain
    information including credit card or other payment information. You agree that all information that you provide will be
    accurate, complete, and current. You agree to pay all charges, including shipping and handling charges, incurred by
    users of your credit card or other payment mechanism at the prices in effect when such charges are incurred. You will
    also be responsible for paying any applicable taxes relating to your purchases. Please review the Company’s privacy
    policy at www.take2games.com/privacy before submitting such information.




                        RINGTONES, WALLPAPERS, AND OTHER MOBILE
                              DEVICE SERVICES & PRODUCTS
    Certain mobile phone handsets and carriers offer services that enable consumers to select and purchase directly
    through their mobile devices various digital mobile products. The Online Services may also offer the ability to select and
    purchase various digital mobile products that will be delivered to your mobile device. These digital mobile products
    offerings and products may enable the consumer to customize their mobile device or mobile device service (for
    example with ringtones or wallpaper), or allow the consumer to select certain video or audio files that can be viewed or
    listened to whenever the consumer chooses. All or some of the digital mobile products offerings may not be available
    on, transmissible to, or compatible with all mobile devices. As a result, consumers may not be able to access, purchase
    or make use of all the services or offerings. Any attempt to purchase these products or services may result in mobile
    carrier charges being separately billed to your mobile device account for SMS messaging or other communications. In
    addition, the consumer may be separately billed by the mobile carrier for the actual product, service or offering
    selected. In the event the consumer has a call waiting and an incoming call is received while accessing or ordering any
    mobile product or service, such product, service or other offering may be interrupted or may not completely download.
    You can unsubscribe from any subscription service by following the instructions in the message or on the website
    related to the product. Please see http://www.take2games.com/support for support information regarding our products.




                               VIRTUAL CURRENCY AND VIRTUAL GOODS
    The Online Services, including software, may offer the ability to purchase and/or earn via gameplay a limited license to
    use virtual currency and/or virtual goods exclusively within applicable software and services provided by the Company.
    Such license is subject to and specifically conditioned upon your acceptance of, and compliance with, the EULA, this
    Agreement and any other applicable policies or agreements. All in-game Virtual Currency and/or Virtual Goods may be
    consumed or lost by players in the course of gameplay according to the game’s rules applicable to currency and
    goods, which may vary. See the EULA at www.take2games.com/eula for more details.




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                                           WARRANTY DISCLAIMER
    THE COMPANY MAY PROVIDE LINKS AND POINTERS TO INTERNET WEBSITES MAINTAINED BY THIRD-PARTIES
    ("THIRD-PARTY SITES") AND MAY, FROM TIME TO TIME, PROVIDE THIRD-PARTY MATERIALS ON ITS WEBSITES.
    NEITHER THE COMPANY, ITS PARENT OR SUBSIDIARY COMPANIES, NOR THEIR AFFILIATES, ENDORSE, TAKE
    RESPONSIBILITY FOR, OPERATE OR CONTROL IN ANY RESPECT ANY INFORMATION, PRODUCTS, OR SERVICES
    ON THESE THIRD-PARTY SITES. THE MATERIALS ON THE THIRD-PARTY SITES ARE PROVIDED "AS IS" AND "AS
    AVAILABLE" WITH NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED,
    INCLUDING, BUT NOT LIMITED TO, ANY IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
    PARTICULAR PURPOSE, AND NONINFRINGEMENT. Because some jurisdictions do not allow the exclusion of or
    limitations on implied warranties or the limitations on the applicable statutory rights of a consumer, some or all of the
    above exclusions and limitations may not apply to you.




                                         VOID WHERE PROHIBITED
    Although Company Online Services are accessible worldwide, not all products or services are available to all persons or
    in all geographic locations. The Company reserves the right to limit, in its sole discretion, the provision and quantity of
    any product or service to any person or geographic area it so desires. Any offer for any product or service made is void
    where prohibited.




                                YOUR RESPONSIBILTY TO THE COMPANY
    You are responsible and liable to the Company and its affiliated companies, officers, directors, employees, agents,
    licensors, and suppliers in respect of all losses, expenses, damages, and costs, including reasonable attorneys’ fees,
    resulting from any violation by you of this Agreement. The Company reserves the right to assume the exclusive defense
    and control of any matter that you are responsible and liable for under this paragraph.




                                               LITIGATION ISSUES
    This Agreement is entered into in the State of New York and shall be governed by, and construed in accordance with,
    the laws of the State of New York, exclusive of its choice of law rules. You and the Company agree to submit to the
    exclusive jurisdiction of the state and federal courts sitting in the Borough of Manhattan in the City of New York in the
    State of New York, and waive any jurisdictional, venue, or inconvenient forum objections to such courts. You and the
    Company further agree as follows: (i) any claim brought to enforce this Agreement must be commenced within two (2)
    years of the cause of action accruing; (ii) no recovery may be sought or received for damages other than out-of-pocket
    expenses, except that the prevailing party will be entitled to costs and attorneys’ fees; and (iii) any claim must be
    brought individually and not consolidated as part of a group or class action complaint. Because some jurisdictions do
    not allow the exclusion of or limitations on incidental or consequential damages or the limitations on the applicable
    statutory rights of a consumer, some or all of the above exclusions and limitations may not apply to you. For example, if
    you are a resident of a European Union member state, you will benefit from any mandatory provisions of consumer
    protection law in the member state in which you are resident, and you can bring legal proceedings in relation to this
    Agreement in the courts of the member state in which you are resident. The Company has the right to prosecute civil
    claims against you for any violation of this Code of Conduct, whether for breach of contract, violation of common law

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    rights, or violation of any applicable state or federal statute. Any violation by you of this Code of Conduct shall
    constitute an affirmative defense (whether characterized as arising at law or in equity) against any claim you might
    assert against the Company in connection with the Online Services.




                                                     TERMINATION
    The Company may terminate or suspend any and all Online Services and any registered account immediately, without
    prior notice or liability on thirty days’ notice, or immediately for any reason beyond the Company's reasonable control
    or if you breach any terms and conditions of an agreement or policy governing the Software, including this Agreement,
    the Privacy Policy and/or the End User License Agreement. Upon termination of your account, your right to use the
    Online Services will immediately cease. If you wish to terminate your account, you may simply discontinue using the
    Online Services. All provisions of this Agreement which by their nature should survive termination shall survive
    termination, including, without limitation, ownership provisions, warranty disclaimers and limitations of liability.

    The Company may terminate any of the Online Services for any reason at all by giving at least thirty days’ notice by
    email or on the website page entitled "Legal Notices" or "Legal Information" (or similar title), or immediately without
    notice for any reason beyond the Company’s reasonable control.




                                                  MISCELLANEOUS
    In the event that any of the provisions of this Agreement are held by a court or other tribunal of competent jurisdiction
    to be unenforceable, such provisions shall be limited or eliminated to the minimum extent necessary so that this
    Agreement shall otherwise remain in full force and effect. This Agreement, along with the Privacy Policy located at
    www.take2games.com/privacy and the EULA, constitutes the entire agreement between you and the Company
    pertaining to the subject matter hereof, and any and all written or oral agreements heretofore existing between you and
    the Company with respect to the subject matter of this Agreement are expressly canceled.

    No failure or delay by the Company to enforce any rights or powers under this Agreement may be deemed a waiver of
    those or any other rights or powers of the Company.

    The Company may modify the terms of this Agreement at any time in its sole discretion by posting a revised Agreement
    or, in the case of a material modification, by posting notice of such modification on the website page entitled "Legal
    Notices" or "Legal Information" (or similar title) before the modification takes effect.




                               DESIGNATED AGENT UNDER THE DIGITAL
                                    MILLENNIUM COPYRIGHT ACT
    The Digital Millennium Copyright Act ("DMCA") provides a mechanism for notifying service providers of claims of
    unauthorized use of copyrighted materials. Under the DMCA, a claim must be sent to the service provider’s designated
    agent. If you believe in good faith that the Company should be notified of a possible online copyright infringement
    involving any Online Service, please notify the Company’s designated agent:
    Service Provider: Take-Two Interactive Software, Inc.
    Take-Two Interactive Software, Inc.
    Address of Designated Agent:
    622 Broadway

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    New York, New York 10012
    Attention: General Counsel

    Telephone Number of Designated Agent: 646-536-2842
    Facsimile Number of Designated Agent: 646-941-3566

    Email Address of Designated Agent: copyright@take2games.com

    Please be aware that, in order to be effective, your notice of claim must comply with the detailed requirements set forth
    in the DMCA. You are encouraged to review them (see 17 U.S.C. Sec. 512(c)(3)) before sending your notice of claim.

    To meet the notice requirements under the DMCA, the notification must be a written communication that includes the
    following: (1) A physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive right
    that is allegedly infringed; (2) Identification of the copyrighted work claimed to have been infringed, or, if multiple
    copyrighted works at a single online site are covered by a single notification, a representative list of such works at that
    site; (3) Identification of the material that is claimed to be infringing or to be the subject of infringing activity and that is
    to be removed or access to which is to be disabled, and information reasonably sufficient to permit us to locate the
    material; (4) Information reasonably sufficient to permit us to contact the complaining party, such as an address,
    telephone number and, if available, an electronic mail address at which the complaining party may be contacted; (5) A
    statement that the complaining party has a good-faith belief that use of the material in the manner complained of is not
    authorized by the copyright owner, its agent or the law; and (6) A statement that the information in the notification is
    accurate, and under penalty of perjury, that the complaining party is authorized to act on behalf of the owner of an
    exclusive right that is allegedly infringed.




                                          REPEAT INFRINGER POLICY
    In accordance with the DMCA and other applicable law, the Company has adopted a policy of terminating, in
    appropriate circumstances and at Company’s sole discretion, registered accounts deemed to be repeat infringers. The
    Company may also at its sole discretion limit access to the Online Services and/or terminate the account of anyone
    who infringes any intellectual property rights of others, whether or not there is any repeat infringement.



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dŽ͗ΖƐĐŽƚƚΛƐďůĂǁĐĞŶƚĞƌ͘ĐŽŵΖфƐĐŽƚƚΛƐďůĂǁĐĞŶƚĞƌ͘ĐŽŵх͖ΖƐĐŽƚƚďďůĂǁΛĂŽů͘ĐŽŵΖфƐĐŽƚƚďďůĂǁΛĂŽů͘ĐŽŵх
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                      KDQGOHVDQG H DQ\RWKHUXVHUQDPHRUDOLDVHVDVVRFLDWHGZLWKHDFKSHUVRQLQYROYHG3URYLGHWKLV
                      LQIRUPDWLRQIRUHYHU\RQHRWKHUWKDQXVHUVLQFOXGLQJ-6DOYD3DUFRRO/HH]\5RQ&KULV7HPSOH%DVK\
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                      $GGLWLRQDOWRWKHSHRSOHDERYH%UDG\\-DVSU&DSWDLQ/67XUWOH/DTXHUKHDG,GRQ WNQRZDQ\RQH
                      SHUVRQDOLQIRDVLGHIURPWKLVGLVFRUGQDPHVZKLFKZHUHWKHVDPHDVSURYLGHGEHIRUH0\LGZDV/RUG

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                      ,'LGQ WUHFHLYHIXQGVGLUHFWO\IURP(OXVLYHLZDVLVVXHGNH\VWRVHOORQDZHHNO\EDVLVIRUZKLFK
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                                  PHQXFRGHWKH(;&ILOHLQMHFWRUFRGHDXWKHQWLFDWLRQFRGHFRGHGHVLJQHGWRFLUFXPYHQWRU
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                                  UHTXLUHGWRUXQ(OXVLYHFRGHJRLQJIRUZDUG HJDXWKHQWLFDWLRQVHUYHUVHWF ,QGLFDWHWKHVRXUFH
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                      3DUFRRO/HH]\5RQ&KULV7HPSOH$EDVKHHDQG\RX

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                                  GHVLJQHGWRFLUFXPYHQWRUVXSSUHVV7DNH7ZR¶VDQWLFKHDWWKHFXVWRPWRROVXVHGWR
                                  JHQHUDWHWKHPHQXDQGDQ\ELQDU\UHTXLUHGWRUXQ(OXVLYHFRGHJRLQJIRUZDUG HJ
                                  DXWKHQWLFDWLRQVHUYHUVHWF ,QGLFDWHWKHVRXUFHEHKLQGHDFKDERYH HJ-6DOYD3DUFRRO
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3URGXFWRU  6WULFWO\&RQILGHQWLDO,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWRIWKLVPHVVDJH\RXPD\QRWGLVFORVHSULQWFRS\RU
GLVVHPLQDWHWKLVLQIRUPDWLRQ,I\RXKDYHUHFHLYHGWKLVPHVVDJHLQHUURUSOHDVHUHSO\DQGQRWLI\WKHVHQGHU RQO\ DQGGHOHWHWKLV
PHVVDJHLPPHGLDWHO\8QDXWKRUL]HGLQWHUFHSWLRQRIWKLVHPDLOLVDYLRODWLRQRI)HGHUDO&ULPLQDO/DZ               

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Attorneys for Plaintiff Take-Two Interactive Software, Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


TAKE-TWO INTERACTIVE SOFTWARE, INC.,                    Case No. 1:18-cv-7658

                        Plaintiff,                                ECF Case

       - against -

JHONNY PEREZ,

                        Defendant.


                                          COMPLAINT

       Plaintiff Take-Two Interactive Software, Inc. (“Take-Two”), by and through its attorneys,

Kirkland & Ellis LLP, for its Complaint, hereby alleges against Defendant Jhonny Perez

(“Perez”) as follows:

                                     NATURE OF THE ACTION

       1.      This action seeks to recover damages that Take-Two has suffered and to prevent

the irreparable harm that threatens Take-Two as a result of Mr. Perez’s willful infringement of

Take-Two’s valuable intellectual property rights in and to its world-famous video games and

breach of Take-Two’s End User License Agreement (“User Agreement”). Specifically, Mr.
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Perez acting in concert with other individuals in Europe created, distributed, and maintained a

computer program called “Elusive” that alters Take-Two’s Grand Theft Auto video games (the

“Infringing Program”). The Infringing Program is a cheating and “griefing” tool that allows

users to perform unauthorized actions in Take-Two’s Grand Theft Auto V (“GTAV”) multiplayer

feature Grand Theft Auto Online. These unauthorized actions can be used to benefit the person

who installed the program or to the detriment of others playing in the same multiplayer session.

       2.      Upon information and belief, in a deliberate attempt to profit from Take-Two’s

valuable intellectual property, Mr. Perez sells the Infringing Program to users who can then alter

Take-Two’s video games. These alterations are intended to and do allow users to cheat while

playing Take-Two’s games, both to (a) create benefits for themselves within the game that they

have not purchased or earned, or (b) to alter the games of other players in the same gaming

session without authorization. As a result, the Infringing Program disrupts the user experience

that was designed by Take-Two resulting in further harm to Take-Two and its users.

       3.      Mr. Perez is well aware that the Infringing Program is unauthorized and infringes

Take-Two’s rights. In fact, Take-Two contacted Mr. Perez prior to bringing this lawsuit in an

attempt to settle the parties’ dispute without requiring judicial intervention. Take-Two

demanded that Mr. Perez cease his willful and infringing conduct and cooperate with Take-Two

to consider how and whether settlement would be possible.     Mr. Perez has stopped responding

to Take-Two, leading to Take-Two’s understanding, upon information and belief, that Mr. Perez

will continue to infringe Take-Two’s rights.

       4.      In sum, Mr. Perez has knowingly, intentionally, and willfully infringed Take-

Two’s copyrights. Mr. Perez has profited by violating Take-Two’s rights and User Agreement.




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        5.       Accordingly, due to Mr. Perez’s blatant and willful infringement and refusal to

cooperate with Take-Two, Take-Two has no choice but to file this lawsuit seeking injunctive

relief and damages that it has suffered as a result of Mr. Perez’s direct and contributory copyright

infringement under the Copyright Act of 1976, 17 U.S.C. § 101 et seq., as well as for his breach

of Take-Two’s User Agreement and his tortious interference with Take-Two’s contracts with

other GTAV players.

                                             PARTIES

        6.       Plaintiff Take-Two Interactive Software, Inc. is a Delaware corporation having its

principal place of business in the State of New York and is qualified to do business and is doing

business in the State of New York and in this judicial district.

        7.       Defendant Jhonny Perez is an individual who, upon information and belief,

resides in the State of Florida.

                                   JURISDICTION AND VENUE

        8.       This action arises under the Copyright Act of 1976, 17 U.S.C. § 101 et seq., and

New York state law. This court has subject matter jurisdiction over the dispute for two,

independent reasons. First, this Court has federal question subject matter jurisdiction over Take-

Two’s copyright claim pursuant to 28 U.S.C. §§ 1331 and 1338. This Court also has

supplemental jurisdiction over Take-Two’s state law claims pursuant to 28 U.S.C. § 1367(a)

because those claims are substantially related to Take-Two’s federal claims. Second, as Take-

Two and Mr. Perez are citizens of different states and the matter in controversy exceeds $75,000

exclusive of interests and costs, this Court also has diversity subject matter jurisdiction under 28

U.S.C. § 1332.

        9.       This Court has personal jurisdiction over Mr. Perez and venue is proper in this

District pursuant to N.Y. C.P.L.R. § 302(a)(3), as well as 28 U.S.C. §§ 1391 and 1400. Take-

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Two is located and is being harmed in this District. Mr. Perez reasonably should expect—and,

upon information and belief, does expect—that his activities would have consequences in New

York and this District.

       10.     Upon information and belief, Mr. Perez has derived substantial revenue from

interstate or international commerce from his activities. In particular, Mr. Perez was paid

through PayPal by the two individuals in Europe Mr. Perez worked in concert with to create,

distribute, and maintain the Infringing Program, as well as paid by purchasers of the Infringing

Program who, upon information and belief, reside in states other than the State of Florida and/or

reside in foreign nations abroad.

       11.     Personal jurisdiction and venue also are proper because Mr. Perez was required to

affirmatively accept the terms of Take-Two’s User Agreement and the Terms & Conditions of

Take-Two’s Terms of Service (“Terms of Service”) multiple times as a pre-requisite to accessing

or playing GTAV. Both of those agreements contain a forum selection provision providing New

York as the sole and exclusive venue for litigation. Those agreements also provide that the user

consents to personal jurisdiction in New York. Thus, pursuant to those agreements, Mr. Perez

consented to personal jurisdiction and venue in New York.

       12.     First, Mr. Perez was notified on the back of the GTAV box and/or in the digital

purchase flow that “Software license terms [are] in game and at www.rockstargames.com; online

account terms [are] at www.rockstargames.com/socialclub. Violation of EULA, Code of

Conduct, or other policies may result in restriction or termination of access to game or online

account,” as shown below.




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       13.     Second, Mr. Perez was notified of these policies and required to accept them

during the software installation and account sign up process. As shown below, the first screen

that users, including Mr. Perez, see during the installation process puts users on notice that they

must accept the User Agreement.




       14.     The second screen users, including Mr. Perez, see during the installation process

requires them to review and expressly accept the User Agreement.




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       15.     Take-Two’s User Agreement contains a mandatory forum selection clause written

in a standard font size and type in clear and unambiguous language. In particular, the User

Agreement includes, among other things, a paragraph that provides that the user agrees that “the

sole and exclusive jurisdiction and venue for actions related to the subject matter hereof shall be

the state and federal courts located in Licensor’s principal corporate place of business (New

York County, New York, U.S.A.). You and licensor consent to the jurisdiction of such courts

and agree that process may be served in the manner provided herein for giving of notices or

otherwise as allowed by New York state or federal law.” Attached hereto as Exhibit 1 is a true

and correct copy of the User Agreement.

       16.     Third, users, including Mr. Perez, must sign up or sign in to the Rockstar Games

Social Club before they can play GTAV on personal computer. During the sign up process,

users are informed their use of the game is subject to the User Agreement and Terms of Service,

which they can review by clicking links, as shown below:


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       17.    When the user, including Mr. Perez, clicks “Continue,” the user sees the Privacy

Policy and must affirmatively click “I Accept” to continue, as shown below:




       18.    The user, including Mr. Perez, then sees the Terms of Service policy and must

affirmatively click “I Accept” to continue, as shown below:




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       19.     Take-Two’s Terms of Service contains a mandatory forum selection clause

written in a standard font size and type in clear and unambiguous language. The Terms of

Service includes, among other things, a paragraph that provides that the user “agree[s] to submit

to the exclusive jurisdiction of the state and federal courts sitting in the Borough of Manhattan in

the City of New York in the State of New York, and waive any jurisdictional, venue, or

inconvenient forum objections to such courts.” Attached hereto as Exhibit 2 is a true and correct

copy of the Terms of Service.

       20.     If the user is already registered as a Rockstar Games Social Club user and has

signed in to a Social Club account during installation (rather than signing up for one), the user

also will be required to accept the most recent policies within the game. That screen provides

links to Take-Two’s User Agreement, Privacy Policy, and Terms of Service. The user must

affirmatively click a box confirming that the user has “read and accept[s] the [User Agreement],

Privacy Policy, Terms [of Service], and Code of Conduct, including the data transfer provisions”




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and must then click “Submit” before proceeding further. A screenshot of how this screen

appears to the user is shown below:




       21.    In addition to affirmatively accepting the terms of Take-Two’s User Agreement

and Terms of Service numerous times before installing and playing GTAV, the user, including

Mr. Perez, also receives notice of these policies each time they start the game. GTAV reminds

the user when GTAV is loading, among other things, that his use is “subject to license in game

manual and at www.rockstargames.com/eula; online account terms at

www.rockstargames.com/socialclub.” A screenshot of how this screen appears to the user,

including Mr. Perez, is shown below:




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       22.     A second game-loading screen reminds the user that “Unauthorized copying . . .

or circumvention of copy protection is strictly prohibited.” A screenshot of how the second

game-loading screen appears to the user, including Mr. Perez, is shown below:




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               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

I.     Take-Two and Its Award-Winning Video Games

       23.     Take-Two is the developer and publisher of best-selling video games, including

the Red Dead, Max Payne, and Grand Theft Auto series. Take-Two’s games are widely

recognized as some of the most popular and innovative games available on the market, and Take-

Two has earned numerous awards both in the United States and abroad as a result.

       24.     Take-Two has invested vast resources, including time, effort, talent, creativity,

and money, to produce its video games. Its games have large followings of fans throughout the

world, making Take-Two one of the world’s most popular video game publishers.

       25.     Take-Two owns the copyrights for each of its video games, including GTAV.

       26.     GTAV has been registered with the Copyright Office.

       27.     Attached hereto as Exhibit 3, and incorporated herein by reference, is a true and

correct copy of the Certificate of Registration issued by the Copyright Office for GTAV. Exhibit

3 reflects the date upon which Take-Two applied for certificate of registration and, where

applicable, the date on which the certificate was issued and the registration number assigned.

       28.     GTAV is a video game that was the product of Take-Two’s skills, resources, and

creative energies. It is of great value to Take-Two.

       29.     Take-Two is, and at all times material herein was, the sole owner and proprietor

of all right, title, and interest in and to the copyrights in GTAV. The copyrights in GTAV are

presently valid and subsisting and were valid and subsisting at all times affecting the matters

complained of herein.

       30.     To play Take-Two’s video games, including GTAV, users must agree to the terms

of Take-Two’s User Agreement. Among the terms provided in Take-Two’s User Agreement,

users are (1) “not to . . . prepare derivative works based on, or otherwise modify the Software, in

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whole or in part,” (2) “not to . . . restrict or inhibit any other user from using and enjoying any

online features of the Software,” and (3) “not to . . . cheat (including but not limited to utilizing

exploits or glitches) or utilize any unauthorized robot, spider, or other program in connection

with any online features of the Software,” as indicated in Exhibit 1.

       31.     The permission that Take-Two grants users to play GTAV is expressly

conditioned on these terms. As a result, if a user breaches these conditions, his use of Take-

Two’s GTAV video game is no longer authorized, including the reproduction of the GTAV

software in the user’s computer or console. In other words, continuing to play GTAV after

breaching these provisions of Take-Two’s User Agreement not only constitutes a breach of the

User Agreement, but also copyright infringement.

II.    Mr. Perez and the Infringing Program

       32.     Mr. Perez—acting in concert with two individuals in Europe—created,

distributed, and/or maintained the Infringing Program, which is a cheating and “griefing” tool for

GTAV. The Infringing Program allows users to perform unauthorized actions, including without

limitation affecting in-game content and abilities of themselves and other players. In other

words, Mr. Perez’s creation and use of the Infringing Program alters and creates derivative works

based on GTAV, which are used to alter the game for the benefit of the user or to “grief” other

players by altering their games without permission.

       33.     As a result, Mr. Perez breached Take-Two’s User Agreement conditions.

Moreover, he has infringed Take-Two’s copyrights in two ways: first by continuing to use

GTAV after breaching those conditions, and second by creating an unauthorized derivative work

based on GTAV.




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       34.     Mr. Perez knows that he did not have Take-Two’s permission to create, distribute,

and/or maintain such a computer program. Take-Two contacted Mr. Perez, demanding that he

discontinue his participation in the Infringing Program and similar cheating tools and services.

       35.     Upon learning that Mr. Perez hired a lawyer, counsel for Take-Two sent a letter to

Mr. Perez’s lawyer demanding that Mr. Perez cease his actions and cooperate with Take-Two to

consider how and whether settlement would be possible. Because Mr. Perez has stopped

responding to Take-Two, Mr. Perez has not complied with Take-Two’s demand.

       36.     Despite Take-Two’s repeated efforts to resolve this dispute without court

intervention, because Mr. Perez has stopped responding, upon information and belief, Mr. Perez

will continue using Take-Two’s content in the manner described above.

III.   The Harm to Take-Two

       37.     As discussed above, Take-Two produces video games for which it receives

revenue from video game sales and the purchases within the game.

       38.     Mr. Perez’s willful infringement robs Take-Two of these revenues. The

Infringing Program (1) allows Mr. Perez to profit commercially without paying Take-Two

anything, and (2) devalues and causes substantial harm to the value of GTAV. Thus, Take-Two

has been damaged by Mr. Perez’s conduct in an amount to be determined according to proof, but

at a minimum, $500,000.00.

       39.     Moreover, upon information and belief, unless enjoined by this Court, Mr. Perez

intends to continue to infringe upon Take-Two’s copyrights and otherwise to profit from Take-

Two’s video games.

       40.     Accordingly, Take-Two has suffered irreparable damages. Take-Two has no

adequate remedy at law to redress all of the injuries that Mr. Perez has caused and intends to



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cause by his conduct. Take-Two will continue to suffer irreparable damage until Mr. Perez’s

actions alleged above are enjoined by this Court.

                                    CLAIMS FOR RELIEF

                                          COUNT I
                    Direct Copyright Infringement (17 U.S.C. § 101 et seq.)

       41.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       42.      GTAV is an original, creative work and copyrightable subject matter under the

laws of the United States.

       43.      Take-Two is the owner of valid copyrights in GTAV, and the Register of

Copyrights has issued a valid Certificate of Registration as indicated in Exhibit 3.

       44.      Take-Two has complied in all respects with 17 U.S.C. §§ 101, et seq., and has

secured the exclusive rights and privileges in and to the copyrights in its video games and

content.

       45.      By his actions, alleged above, Mr. Perez has infringed and, upon information and

belief, will continue to infringe Take-Two’s copyrights in and relating to GTAV by, inter alia,

using the Infringing Program to create derivative works using GTAV without any authorization

or other permission from Take-Two, as well as continuing to use GTAV having violated the

conditions on such use.

       46.      Mr. Perez’s infringement of Take-Two’s copyrights has been deliberate, willful

and in utter disregard of Take-Two’s rights.

       47.      Upon information and belief, as a direct and proximate result of its wrongful

conduct, Mr. Perez has obtained benefits, including, but not limited to, payments from users to

which Mr. Perez is not entitled.


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       48.      As a direct and proximate result of Mr. Perez’s wrongful conduct, Take-Two has

been substantially and irreparably harmed in an amount not readily capable of determination.

Unless restrained by this Court, Mr. Perez will cause further irreparable injury to Take-Two.

       49.      Take-Two is entitled to injunctive relief enjoining Mr. Perez, and all persons

acting in concert or participation with him, from engaging in any further infringement of Take-

Two’s copyrighted video games and content.

       50.      Take-Two is further entitled to recover from Mr. Perez the damages, including

attorney’s fees and costs, it has sustained and will sustain, and any gains, profits and advantages

obtained by Mr. Perez as a result of his acts of infringement as alleged above. At present, the

amount of such damages, gains, profits and advantages cannot be fully ascertained by Take-Two,

but is at a minimum $500,000.00 and will be established according to proof at trial. Take-Two

also is entitled to recover statutory damages for Mr. Perez’s willful infringement of its

copyrights.

                                        COUNT II
                Contributory Copyright Infringement (17 U.S.C. § 101 et seq.)

       51.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       52.      GTAV is an original, creative work and copyrightable subject matter under the

laws of the United States.

       53.      Take-Two is the owner of valid copyrights in GTAV, and the Register of

Copyrights has issued a valid Certificate of Registration as indicated in Exhibit 3.

       54.      Take-Two has complied in all respects with 17 U.S.C. §§ 101, et seq., and has

secured the exclusive rights and privileges in and to the copyrights in its video games and

content.


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       55.     By his actions, alleged above, Mr. Perez has provided copies, or portions thereof,

of the Infringing Program to third-parties.

       56.     Those third-parties, through their use of the Infringing Program, also infringe

Take-Two’s copyrights, inter alia, using the Infringing Program to create derivative works of

GTAV without any authorization or other permission from Take-Two, as well as continuing to

use GTAV after violating the conditions on such use.

       57.     Mr. Perez had knowledge of the infringement of these third-parties and, in fact,

intentionally encouraged and induced such use. Moreover, Mr. Perez materially contributed to

the direct infringement by working in concert with others to create, distribute, and/or maintain

the Infringing Program necessary for the infringement to occur.

       58.     Mr. Perez also had knowledge of and materially contributed to the infringements

of other individuals engaged in creating, distributing, and/or maintaining the Infringing Program.

       59.     Mr. Perez’s contributory infringement of Take-Two’s copyrights has been

deliberate, willful and in utter disregard of Take-Two’s rights.

       60.     Upon information and belief, as a direct and proximate result of his wrongful

conduct, Mr. Perez has obtained benefits, including, but not limited to, payments from users to

which Mr. Perez is not entitled.

       61.     As a direct and proximate result of Mr. Perez’s wrongful conduct, Take-Two has

been substantially and irreparably harmed in an amount not readily capable of determination.

Unless restrained by this Court, Mr. Perez will cause further irreparable injury to Take-Two.

       62.     Take-Two is entitled to injunctive relief enjoining Mr. Perez, and all persons

acting in concert or participation with him, from contributing to any further infringement of

Take-Two’s copyrighted video games and content.



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       63.      Take-Two is further entitled to recover from Mr. Perez the damages, including

attorney’s fees and costs, it has sustained and will sustain, and any gains, profits and advantages

obtained as a result of the acts of contributory infringement as alleged above. At present, the

amount of such damages, gains, profits and advantages cannot be fully ascertained by Take-Two,

and will be established according to proof at trial. Take-Two also is entitled to recover statutory

damages for Mr. Perez’s willful contributory infringement of its copyrights.

                                          COUNT III
                                       Breach of Contract

       64.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       65.      Take-Two’s User Agreement is a valid and enforceable contract. Among other

things, to play Take-Two’s video games, users must affirmatively agree to abide by the User

Agreement.

       66.      Take-Two has fully performed or tendered all performance required under the

User Agreement.

       67.      Mr. Perez has breached his obligations under the User Agreement by (1) altering

GTAV and creating derivative works based on it; (2) restricting and inhibiting others from using

and enjoying GTAV; and/or (3) cheating and using unauthorized programs in connection with

GTAV’s online features.

       68.      Take-Two is entitled to recover compensatory and consequential damages

resulting from Mr. Perez’s breach of the User Agreement.

                                           Count IV
                              Tortious Interference with Contract

       69.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

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       70.     As discussed above, Take-Two’s users must affirmatively assent to Take-Two’s

User Agreement before playing GTAV. That agreement contains specific provisions that

prohibit, among other things, altering GTAV and cheating.

       71.     Take-Two fulfilled all of its obligations pursuant to the User Agreement.

       72.     As a GTAV user, Mr. Perez is aware of the User Agreement and its obligations on

those that play GTAV.

       73.     Despite agreeing to the User Agreement, Mr. Perez has induced, and upon

information and belief will continue to induce, other GTAV players to breach their contractual

responsibilities by using the Infringing Program for purposes expressly prohibited by the User

Agreement.

       74.     Mr. Perez’s actions in inducing these breaches of contract are intentional, illegal,

and have been engaged in for the specific purpose of inducing the GTAV players using the

Infringing Program to breach their agreements with Take-Two.

       75.     As a proximate result of Mr. Perez’s tortious interference with contract, Take-

Two has been damaged, and Mr. Perez has been unjustly enriched, in an amount to be

determined at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Take-Two respectfully requests judgment against Mr. Perez as

follows:

       A.      Find that Mr. Perez has infringed Take-Two’s copyrights in GTAV directly and

               contributorily;

       B.      Find a substantial likelihood that Mr. Perez will continue to infringe Take-Two’s

               intellectual property unless enjoined from doing so;

       C.      Find that Mr. Perez has breached the User Agreement;

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D.     Find that Mr. Perez has tortiously interfered with Take-Two’s contracts with its

       other GTAV players;

E.     Issue a preliminary and permanent injunction enjoining Mr. Perez and all persons,

       firms and corporations acting in concert with him, from directly or indirectly

       infringing Take-Two’s copyrights, including, but not limited to, (a) creating

       derivative works based upon any portion of Take-Two’s video games, including

       GTAV; (b) producing or distributing any computer programs that alter Take-

       Two’s games, including without limitation the Infringing Program; and (c) from

       participating or assisting in any such activity;

F.     Order Mr. Perez to render a full and complete accounting to Take-Two for Mr.

       Perez’s profits, gains, advantages or the value of the business opportunities

       received from the foregoing acts of infringement and breach;

G.     Enter judgment for Take-Two against Mr. Perez for all damages suffered by

       Take-Two and for any profits or gain by Mr. Perez attributable to infringement of

       Take-Two’s intellectual property, breach of the User Agreement, and tortious

       interference with contract in amounts to be determined at trial;

H.     Enter judgment for Take-Two against Mr. Perez for statutory damages based upon

       Mr. Perez’s willful acts of infringement pursuant to the Copyright Act, 17 U.S.C.

       § 101 et seq.;

I.     Award Take-Two costs and disbursement of this action, including reasonable

       attorney’s fees and costs pursuant to 17 U.S.C. § 505;

J.     Award Take-Two pre-judgment and post-judgment interest, to the fullest extent

       available, on the foregoing; and



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      K.     Grant such other, further and different relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff Take-Two demands a trial by jury on all issues so triable in this action.


Dated: New York, New York                        KIRKLAND & ELLIS LLP
       August 22, 2018

                                                   /s/ Dale M. Cendali
                                                 Dale M. Cendali
                                                 Joshua L. Simmons
                                                 Megan L. McKeown
                                                 KIRKLAND & ELLIS LLP
                                                 601 Lexington Avenue
                                                 New York, New York 10022
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                                                 megan.mckeown@kirkland.com

                                                 Attorneys for Plaintiff
                                                 Take-Two Interactive Software, Inc.




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                             TERMS OF SERVICE
                                                 REVISED: JULY 27, 2018




                                             TERMS & CONDITIONS
    This document constitutes an agreement (the "Agreement") between you and the United States company Rockstar
    Games, Inc., its parent Take-Two Interactive Software, Inc., subsidiaries, and affiliates, (the "Company," "we," "us," and
    "our") that governs the relationship between you and the Company with respect to your use of the Online Services. The
    Company provides access to the Online Services and any related services subject to your compliance with this
    Agreement. Thus, it is important that you carefully read and understand this Agreement.

    The terms and conditions herein are in addition to and supplement the End User License Agreement at
    www.take2games.com/eula that governs the use of all software and services distributed by the Company.

    Description Of Online Services
    Trademark And Copyright Information
    Submissions
    Code Of Conduct
    Limited License By The Company
    License To The Company
    Making Purchases
    Ringtones, Wallpapers, And Other Mobile Device Services & Products
    Virtual Currency And Virtual Goods
    Warranty Disclaimer
    Void Where Prohibited
    Your responsibility to the Company
    Litigation Issues
    Termination
    Miscellaneous
    Designated Agent Under the Digital Millenium Copyright Act
    Repeat Infringer Policy




                                      DESCRIPTION OF ONLINE SERVICES
    Subject to full compliance with this Agreement, the Company may offer to provide certain products, services, and
    websites accessed through internet-capable hardware platforms including gaming consoles, personal computers,
    mobile computers, or mobile devices, or in-game applications or software platforms including third-party hosts
    (collectively the "Online Services"). Online Services shall include, but not be limited to, any service or content the
    Company provides to you, including any materials displayed or performed. The Company may change, suspend or
    discontinue the Online Services,including the availability of any feature or content, on thirty days’ notice, or immediately
    for any reason beyond the Company’s reasonable control, or if you breach any term of an agreement or policy
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    governing the Software, including this Agreement, Licensor's Privacy Policy and/or Licensor's Terms of Service. The
    Company may also impose limits on certain features and services or restrict your access to parts or all of the Online
    Services without notice.




                            TRADEMARK AND COPYRIGHT INFORMATION
    All Online Services material, including, but not limited to, text, data, graphics, logos, button icons, images, audio clips,
    video clips, links, digital downloads, data compilations, and software is owned, controlled by, licensed to, or used with
    permission by the Company and is protected by copyright, trademark, and other intellectual property rights. The Online
    Services material is made available solely for your personal, non-commercial use and may not be copied, reproduced,
    republished, modified, uploaded, posted, transmitted, or distributed in any way, including by email or other electronic
    means, without the express prior written consent of the Company in each instance. You may download material
    intentionally made available for downloading through the Online Services for your personal, non-commercial use only,
    provided that you keep intact any and all copyright and other proprietary notices that may appear on such materials.




                                                     SUBMISSIONS
    The Company welcomes input from the gaming community. You hereby grant the Company an exclusive, perpetual,
    irrevocable, fully transferable, and sub-licensable worldwide right and license to use any submissions you submit to the
    Company of any nature whatsoever, whether through a posting on a Company website, email to the Company, mail, or
    any other means and without any obligation to account, credit, or make any payment to you for any use thereof. No
    purported reservation of rights incorporated in or accompanying any submission shall have any force or effect.




                                                CODE OF CONDUCT
    The following rules, policies, and disclaimers shall govern and/or apply to your use of the Online Services.

    You agree, by using the Online Services, that: (1) you will only use the Online Services for lawful purposes, in
    compliance with applicable laws, for your own personal, non-commercial use; (2) you will not restrict or inhibit any other
    user from using or enjoying the Online Services (for example, by means of harassment, hacking, interfering, adversely
    affecting, or defacement); (3) you will not use the Online Services to create, upload, or post any material that is
    knowingly false and/or defamatory, inaccurate, abusive, vulgar, obscene, profane, hateful, harassing, sexually oriented,
    threatening, invasive of one’s privacy, in violation of any law, or is inconsistent with community standards; (4) you will
    not post, upload, or create any copyrighted material using the Online Services unless you own the copyright in and to
    such material; (5) you will not post, upload, or transmit any information or software that modifies or alters the Online
    Services in any way or that contains a virus, worm, timebomb, cancelbot, trojan horse or other harmful, disruptive, or
    deleterious component; (6) you will not post, upload, create, or transmit materials in violation of another party’s
    copyright or other intellectual property rights; (7) you will not cheat or utilize any unauthorized robot, spider, or other
    program in connection with the Online Services; (8) you will not impersonate any other individual or entity in connection
    with your use of the Online Services, and (9) you will not provide assistance, guidance, or instruction to any other
    individual or entity regarding any of the above. All determinations will be made by the Company in its sole discretion.

    When we provide Online Services involving user-created content ("UGC"), we do not review every piece of UGC, nor do
    we confirm the accuracy, validity, or originality of the UGC posted. We do not actively monitor the contents of the
    postings, nor are we responsible for the content of any postings. We do not vouch for, nor do we warrant the validity,
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    accuracy, completeness, or usefulness of any UGC. The contents of the postings do not represent the views of the
    Company, its subsidiaries, or any person or property associated with the Company, the Online Services, or any website
    in the Company’s family of websites. If you feel that any posting is objectionable, we encourage you to use associated
    report functions or contact us by visiting www.take2games.com/support. We will remove objectionable content if we
    deem removal to be warranted. Please understand that removal or editing of any content is a manual process and
    might not occur immediately or at all. The Company is not responsible for any content posted, or actions taken, by any
    other User that impacts you or your use of the Online Services. We reserve the right to remove (or not) any UGC or
    content for any (or no) reason whatsoever. You remain solely responsible for your UGC, and you will accordingly be
    responsible and liable to the Company and its agents with respect to any claim based upon the transmission of your
    UGC. Posting of advertisements, chain letters, pyramid schemes, solicitations, the same note more than once or
    “spamming,” and the like, are inappropriate and forbidden on the Online Services (including bulletin boards and chat
    rooms).

    To the fullest extent allowed by applicable law, your use of the Online Services is at your own risk and the Company is
    not responsible for any loss, damage, or unsatisfactory performance related to the Online Services.

    We reserve the right to reveal your identity (including whatever information we know about you) without notice to you in
    certain circumstances set forth in our Privacy Policy. Please visit www.take2games.com/privacy for more details.




                                      LIMITED LICENSE BY THE COMPANY
    The Company grants you a limited, non-sublicensable license to access and use the Online Services. Such license is
    subject to this Agreement and, as applicable, the software EULA located at www.take2games.com/eula, and
    specifically conditioned upon the following: (i) you may only view, copy and print portions of the Online Services for
    your own informational, personal and non-commercial use; (ii) you may not modify or otherwise make derivative uses of
    the Online Services, or any portion thereof; (iii) you may not remove or modify any copyright, trademark, or other
    proprietary notices that have been placed in the Online Services; (iv) you may not use any data mining, robots or similar
    data gathering or extraction methods; (v) you may not use the Online Services other than for their intended purpose; (vi)
    you may not reproduce, prepare derivative works from, distribute, frame, “mirror,” or display the Online Services,
    except as provided herein; and (vii) you must not violate the Code of Conduct set forth above.

    Except as expressly permitted above, any use of any portion of the Online Services without the prior written permission
    of the Company is strictly prohibited and will terminate the license granted herein. Any such unauthorized use may also
    violate applicable laws, including without limitation copyright and trademark laws and applicable communications
    regulations and statutes. Unless explicitly stated herein, nothing in this Agreement may be construed as conferring any
    license to intellectual property rights, whether by estoppel, implication or otherwise. This license is revocable at any
    time.

    You represent and warrant that your use of the Online Services will be consistent with this license, the EULA, and any
    other applicable agreements or policies, and will not infringe or violate the rights of any other party or breach any
    contract or legal duty to any other parties, or violate any applicable law. You will be responsible and liable to the
    Company in respect of any liability that the Company suffers arising out of your use of Online Services not in
    accordance with this Agreement. To request permission for uses of the Online Services not included in the foregoing
    license, you may write to the Company at webmaster@take2games.com.




                                         LICENSE TO THE COMPANY
    By creating UGC, posting messages, uploading files, creating files, inputting data, or engaging in any form of
    communication with or through the Online Services, you are granting the Company a royalty-free, perpetual, non-

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    exclusive, unrestricted, worldwide license to: (1) use, copy, sublicense, adapt, transmit, publicly perform, or display any
    such material; and (2) sublicense to third-parties the unrestricted right to exercise any of the foregoing rights granted
    with respect to the material. The foregoing grants shall include the right to exploit any proprietary rights in such
    material, including but not limited to rights under copyright, trademark, service mark, or patent laws under any relevant
    jurisdiction. Please consult the EULA at www.take2games.com/eula for additional license terms related to our software.




                                              MAKING PURCHASES
    If you wish to purchase products or services described in the Online Services, you may be asked to supply certain
    information including credit card or other payment information. You agree that all information that you provide will be
    accurate, complete, and current. You agree to pay all charges, including shipping and handling charges, incurred by
    users of your credit card or other payment mechanism at the prices in effect when such charges are incurred. You will
    also be responsible for paying any applicable taxes relating to your purchases. Please review the Company’s privacy
    policy at www.take2games.com/privacy before submitting such information.




                        RINGTONES, WALLPAPERS, AND OTHER MOBILE
                              DEVICE SERVICES & PRODUCTS
    Certain mobile phone handsets and carriers offer services that enable consumers to select and purchase directly
    through their mobile devices various digital mobile products. The Online Services may also offer the ability to select and
    purchase various digital mobile products that will be delivered to your mobile device. These digital mobile products
    offerings and products may enable the consumer to customize their mobile device or mobile device service (for
    example with ringtones or wallpaper), or allow the consumer to select certain video or audio files that can be viewed or
    listened to whenever the consumer chooses. All or some of the digital mobile products offerings may not be available
    on, transmissible to, or compatible with all mobile devices. As a result, consumers may not be able to access, purchase
    or make use of all the services or offerings. Any attempt to purchase these products or services may result in mobile
    carrier charges being separately billed to your mobile device account for SMS messaging or other communications. In
    addition, the consumer may be separately billed by the mobile carrier for the actual product, service or offering
    selected. In the event the consumer has a call waiting and an incoming call is received while accessing or ordering any
    mobile product or service, such product, service or other offering may be interrupted or may not completely download.
    You can unsubscribe from any subscription service by following the instructions in the message or on the website
    related to the product. Please see http://www.take2games.com/support for support information regarding our products.




                               VIRTUAL CURRENCY AND VIRTUAL GOODS
    The Online Services, including software, may offer the ability to purchase and/or earn via gameplay a limited license to
    use virtual currency and/or virtual goods exclusively within applicable software and services provided by the Company.
    Such license is subject to and specifically conditioned upon your acceptance of, and compliance with, the EULA, this
    Agreement and any other applicable policies or agreements. All in-game Virtual Currency and/or Virtual Goods may be
    consumed or lost by players in the course of gameplay according to the game’s rules applicable to currency and
    goods, which may vary. See the EULA at www.take2games.com/eula for more details.




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                                           WARRANTY DISCLAIMER
    THE COMPANY MAY PROVIDE LINKS AND POINTERS TO INTERNET WEBSITES MAINTAINED BY THIRD-PARTIES
    ("THIRD-PARTY SITES") AND MAY, FROM TIME TO TIME, PROVIDE THIRD-PARTY MATERIALS ON ITS WEBSITES.
    NEITHER THE COMPANY, ITS PARENT OR SUBSIDIARY COMPANIES, NOR THEIR AFFILIATES, ENDORSE, TAKE
    RESPONSIBILITY FOR, OPERATE OR CONTROL IN ANY RESPECT ANY INFORMATION, PRODUCTS, OR SERVICES
    ON THESE THIRD-PARTY SITES. THE MATERIALS ON THE THIRD-PARTY SITES ARE PROVIDED "AS IS" AND "AS
    AVAILABLE" WITH NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED,
    INCLUDING, BUT NOT LIMITED TO, ANY IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
    PARTICULAR PURPOSE, AND NONINFRINGEMENT. Because some jurisdictions do not allow the exclusion of or
    limitations on implied warranties or the limitations on the applicable statutory rights of a consumer, some or all of the
    above exclusions and limitations may not apply to you.




                                         VOID WHERE PROHIBITED
    Although Company Online Services are accessible worldwide, not all products or services are available to all persons or
    in all geographic locations. The Company reserves the right to limit, in its sole discretion, the provision and quantity of
    any product or service to any person or geographic area it so desires. Any offer for any product or service made is void
    where prohibited.




                                YOUR RESPONSIBILTY TO THE COMPANY
    You are responsible and liable to the Company and its affiliated companies, officers, directors, employees, agents,
    licensors, and suppliers in respect of all losses, expenses, damages, and costs, including reasonable attorneys’ fees,
    resulting from any violation by you of this Agreement. The Company reserves the right to assume the exclusive defense
    and control of any matter that you are responsible and liable for under this paragraph.




                                               LITIGATION ISSUES
    This Agreement is entered into in the State of New York and shall be governed by, and construed in accordance with,
    the laws of the State of New York, exclusive of its choice of law rules. You and the Company agree to submit to the
    exclusive jurisdiction of the state and federal courts sitting in the Borough of Manhattan in the City of New York in the
    State of New York, and waive any jurisdictional, venue, or inconvenient forum objections to such courts. You and the
    Company further agree as follows: (i) any claim brought to enforce this Agreement must be commenced within two (2)
    years of the cause of action accruing; (ii) no recovery may be sought or received for damages other than out-of-pocket
    expenses, except that the prevailing party will be entitled to costs and attorneys’ fees; and (iii) any claim must be
    brought individually and not consolidated as part of a group or class action complaint. Because some jurisdictions do
    not allow the exclusion of or limitations on incidental or consequential damages or the limitations on the applicable
    statutory rights of a consumer, some or all of the above exclusions and limitations may not apply to you. For example, if
    you are a resident of a European Union member state, you will benefit from any mandatory provisions of consumer
    protection law in the member state in which you are resident, and you can bring legal proceedings in relation to this
    Agreement in the courts of the member state in which you are resident. The Company has the right to prosecute civil
    claims against you for any violation of this Code of Conduct, whether for breach of contract, violation of common law

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    rights, or violation of any applicable state or federal statute. Any violation by you of this Code of Conduct shall
    constitute an affirmative defense (whether characterized as arising at law or in equity) against any claim you might
    assert against the Company in connection with the Online Services.




                                                     TERMINATION
    The Company may terminate or suspend any and all Online Services and any registered account immediately, without
    prior notice or liability on thirty days’ notice, or immediately for any reason beyond the Company's reasonable control
    or if you breach any terms and conditions of an agreement or policy governing the Software, including this Agreement,
    the Privacy Policy and/or the End User License Agreement. Upon termination of your account, your right to use the
    Online Services will immediately cease. If you wish to terminate your account, you may simply discontinue using the
    Online Services. All provisions of this Agreement which by their nature should survive termination shall survive
    termination, including, without limitation, ownership provisions, warranty disclaimers and limitations of liability.

    The Company may terminate any of the Online Services for any reason at all by giving at least thirty days’ notice by
    email or on the website page entitled "Legal Notices" or "Legal Information" (or similar title), or immediately without
    notice for any reason beyond the Company’s reasonable control.




                                                  MISCELLANEOUS
    In the event that any of the provisions of this Agreement are held by a court or other tribunal of competent jurisdiction
    to be unenforceable, such provisions shall be limited or eliminated to the minimum extent necessary so that this
    Agreement shall otherwise remain in full force and effect. This Agreement, along with the Privacy Policy located at
    www.take2games.com/privacy and the EULA, constitutes the entire agreement between you and the Company
    pertaining to the subject matter hereof, and any and all written or oral agreements heretofore existing between you and
    the Company with respect to the subject matter of this Agreement are expressly canceled.

    No failure or delay by the Company to enforce any rights or powers under this Agreement may be deemed a waiver of
    those or any other rights or powers of the Company.

    The Company may modify the terms of this Agreement at any time in its sole discretion by posting a revised Agreement
    or, in the case of a material modification, by posting notice of such modification on the website page entitled "Legal
    Notices" or "Legal Information" (or similar title) before the modification takes effect.




                               DESIGNATED AGENT UNDER THE DIGITAL
                                    MILLENNIUM COPYRIGHT ACT
    The Digital Millennium Copyright Act ("DMCA") provides a mechanism for notifying service providers of claims of
    unauthorized use of copyrighted materials. Under the DMCA, a claim must be sent to the service provider’s designated
    agent. If you believe in good faith that the Company should be notified of a possible online copyright infringement
    involving any Online Service, please notify the Company’s designated agent:
    Service Provider: Take-Two Interactive Software, Inc.
    Take-Two Interactive Software, Inc.
    Address of Designated Agent:
    622 Broadway

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    New York, New York 10012
    Attention: General Counsel

    Telephone Number of Designated Agent: 646-536-2842
    Facsimile Number of Designated Agent: 646-941-3566

    Email Address of Designated Agent: copyright@take2games.com

    Please be aware that, in order to be effective, your notice of claim must comply with the detailed requirements set forth
    in the DMCA. You are encouraged to review them (see 17 U.S.C. Sec. 512(c)(3)) before sending your notice of claim.

    To meet the notice requirements under the DMCA, the notification must be a written communication that includes the
    following: (1) A physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive right
    that is allegedly infringed; (2) Identification of the copyrighted work claimed to have been infringed, or, if multiple
    copyrighted works at a single online site are covered by a single notification, a representative list of such works at that
    site; (3) Identification of the material that is claimed to be infringing or to be the subject of infringing activity and that is
    to be removed or access to which is to be disabled, and information reasonably sufficient to permit us to locate the
    material; (4) Information reasonably sufficient to permit us to contact the complaining party, such as an address,
    telephone number and, if available, an electronic mail address at which the complaining party may be contacted; (5) A
    statement that the complaining party has a good-faith belief that use of the material in the manner complained of is not
    authorized by the copyright owner, its agent or the law; and (6) A statement that the information in the notification is
    accurate, and under penalty of perjury, that the complaining party is authorized to act on behalf of the owner of an
    exclusive right that is allegedly infringed.




                                          REPEAT INFRINGER POLICY
    In accordance with the DMCA and other applicable law, the Company has adopted a policy of terminating, in
    appropriate circumstances and at Company’s sole discretion, registered accounts deemed to be repeat infringers. The
    Company may also at its sole discretion limit access to the Online Services and/or terminate the account of anyone
    who infringes any intellectual property rights of others, whether or not there is any repeat infringement.



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 TAKE-TWO INTERACTIVE SOFTWARE, INC.                      Case No.: l 8-cv-07658 (PKC)

                        Plaintiff,                                  ECF Case

         v.
                                                                    CLERK'S
 JHONNY PEREZ                                             CERTIFICATE OF DEFAULT

                        Defendant.




       I, Ruby J. Krajick, Clerk of the United States District Court for the Southern District of

New York, do hereby certify that this action was commenced on August 22, 2018, with the filing

of a summons and complaint; a copy of the summons and complaint was served on Defendant

Jhonny Perez by personal service on September 18, 2018; and proof of such service thereof was

filed on September 26, 2018. Dkt. No. 14. I further certify that the docket entries indicate that

the defendant has not filed an answer or otherwise moved with respect to the complaint herein.

       The default of the defendant is hereby noted.




 Dated: {\j0,\.J ,;J \ 1 JO \'t                                 RUBY J. KRAJICK
        New York, New York                                        Clerk of Court

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 TAKE-TWO INTERACTIVE                             CASE NO. 18-cv-07658 (PKC)
 SOFTWARE, INC.,

                       Plaintiff,

        - against -

 JHONNY PEREZ,

                       Defendant.


                   MEMORANDUM OF LAW IN SUPPORT OF
             PLAINTIFF TAKE-TWO INTERACTIVE SOFTWARE, INC.’S
                      MOTION FOR DEFAULT JUDGMENT
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       Plaintiff Take-Two Interactive Software, Inc. (“Take-Two”) respectfully submits this

memorandum of law in support of its motion for default judgment against Defendant Jhonny

Perez (“Defendant”).

                                        INTRODUCTION

       In a transparent attempt to profit at Take-Two’s expense, Defendant developed and sold a

software program for cheating in and manipulating Take-Two’s Grand Theft Auto V video game

(“GTAV”) and its multiplayer feature Grand Theft Auto Online (“GTAO”) to the detriment of

Take-Two and those that fairly play its games. In essence, Defendant is free riding on Take-

Two’s intellectual property to sell a commercial product that interferes with the carefully

orchestrated and balanced gameplay that Take-Two created for its players. Take-Two thus

brought this lawsuit to vindicate its rights and asserted claims of direct and contributory

copyright infringement, breach of contract, and tortious interference with contract. Defendant

has not appeared in this case, thereby defaulting. Take-Two thus brings this motion.

       Defendant’s software program violates Take-Two’s copyrights for two reasons. First,

Defendant’s program creates an unauthorized altered, derivative version of GTAV that added

new features and game elements to the GTAO multiplayer feature. Second, Defendant is liable

for copyright infringement for the independent reason that a license from Take-Two is required

to play GTAV. Because use of Defendant’s program violates the licensing conditions in Take-

Two’s End User License Agreement (“User Agreement”), playing GTAV after having violated

those terms is no longer licensed and, thus, also is an infringement. Defendant is liable directly

for his own actions and contributorily for the infringements of his programs’ users. In Take-Two

Interactive Software, Inc. v. Zipperer—an on-point case where Take-Two was suing another

defendant under the same theories for creating a similar infringing program—the court issued a

preliminary injunction finding that Take-Two established a likelihood of success on the merits
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that the defendant “infringed [Take-Two’s] copyright in [those] two ways.” No. 18 Civ. 2608,

2018 WL 4347796, at *8 (S.D.N.Y. Aug. 16, 2018).

         Defendant also is liable for breach of contract as his conduct violates Take-Two’s User

Agreement’s prohibitions on (i) creating derivative works based on Take-Two’s games,

(ii) disrupting and inhibiting others from using and enjoying GTAV, and (iii) cheating in

connection with the online features of the game. Defendant is not only liable for his own

breaches but also for tortiously interfering with Take-Two’s contracts with its players because he

intentionally caused other players’ breach of Take-Two’s User Agreement when he sold and

distributed his program to those players for use in violation of Take-Two’s User Agreement. In

Zipperer, the court denied a motion to dismiss Take-Two’s tortious interference with contract

claim based on similar facts, finding that the defendant could be liable for “induc[ing] or

intentionally procur[ing] other players’ breach of the [U]ser [A]greement.” Id. at *6.

Accordingly, Take-Two respectfully requests that a default judgment be entered against

Defendant. In addition, Take-Two seeks a permanent injunction, $150,000 in statutory damages,

and attorney’s fees for Defendant’s willful infringement, consistent with typical default judgment

remedies in copyright actions.

                                        FACTUAL BACKGROUND1

I.       TAKE-TWO

         Take-Two is the developer and publisher of best-selling video game software, including

GTAV and its multiplayer game feature GTAO. Compl. (Dkt. No. 1) ¶ 23. GTAV is widely

recognized as one of the most popular and innovative games available on the market, and Take-


1
     On a default judgment motion, all factual allegations of the complaint, except those pertaining to the amount of
     damages, must be accepted as true. See City of N.Y. v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 137 (2d Cir.
     2011) (“It is an ancient common law axiom that a defendant who defaults thereby admits all well-pleaded
     factual allegations contained in the complaint.”).

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Two has earned numerous awards both in the United States and abroad as a result. Id. ¶ 23. It is

a game that was the product of Take-Two’s skills, resources, and creative energies, and is of

great value to Take-Two. Id. ¶ 28.

       GTAO is a free game offering that complements GTAV and is regularly updated with

new content via the Internet. Declaration of David Andrews, dated December 4, 2018

(“Andrews Decl.”) ¶ 9. GTAO is played in the same virtual world as the main GTAV single

player game, but up to 30 players can interact in the same space at the same time. Id. ¶ 2. This

“free to play” model is supported by sales of virtual currency to the players who use it to

purchase in-game items. Id. ¶ 9; Compl. ¶ 37.

       GTAV and GTAO are protected by Take-Two’s copyrights, all of which are solely

owned by Take-Two. Compl. ¶¶ 25–27, 29. GTAV and GTAO also are protected by the terms

of Take-Two’s User Agreement, to which all users of GTAV and GTAO, including Defendant,

must affirmatively assent. Id. ¶ 11. The User Agreement makes clear that permission to use

GTAV and GTAO is conditioned on users agreeing (1) “not to . . . prepare derivative works

based on, or otherwise modify the Software, in whole or in part,” (2) “not to . . . restrict or

inhibit any other user from using and enjoying any online features of the Software,” and (3) “not

to . . . cheat or utilize any unauthorized robot, spider, or other program in connection with any

online features of the Software.” Compl. ¶ 30.

II.    DEFENDANT’S INFRINGING PROGRAM

       Defendant, acting in concert with individuals in Europe, created, distributed, and/or

maintained a program called “Elusive,” which is a cheating or “griefing” program for the GTAO

multiplayer feature of GTAV (the “Infringing Program”). Compl. ¶ 1. The Infringing Program

may be used to enable the player using it to cheat or to “grief” another player by using the

program to interfere with the second player’s gameplay experience. Id. ¶¶ 1–2; Andrews Decl. ¶
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4. The Infringing Program allows users to perform unauthorized actions in the game, Compl. ¶

1, including without limitation (i) causing players to teleport, (ii) creating game objects such as

vehicles and cash bags, (iii) creating game “powers”, such as causing the player to be invincible,

(iv) the creation of virtual currency, (v) granting access to weapons and ammunition, and (vi)

granting reputation points. Andrews Decl. ¶ 4. These actions can be used to change the game

for the user of the program and other players who do not have the program installed. Compl. ¶ 1.

       To acquire Elusive’s bundled cheating tools and features, users could purchase Elusive’s

unauthorized features at different price ranges from $10 to $30 depending on the package.

Andrews ¶ 6. Users could make this payment through PayPal or through other forms of

payment, including Steam and Amazon gift card keys. Compl. ¶ 10; Andrews Decl. ¶ 3.

III.   DEFENDANT’S DEFAULT

       Take-Two contacted Defendant prior to bringing this lawsuit in an attempt to settle the

parties’ dispute without requiring judicial intervention. Compl. ¶ 3. Take-Two demanded that

Defendant cease his willful and infringing conduct and cooperate with Take-Two to determine

whether settlement would be possible. Id. As part of this process, Take-Two requested financial

documents from Defendant that would show how much Defendant profited from the Infringing

Program. Declaration of Dale M. Cendali, Esq., dated December 4, 2018 (“Cendali Decl.”) ¶ 12.

Defendant stopped responding to Take-Two, leading to Take-Two’s understanding that

Defendant would continue to infringe Take-Two’s rights. Compl. ¶ 3.

       Take-Two filed this action on August 22, 2018. Compl. Take-Two continued to request

Defendant’s financial documents from Defendant in an effort to avoid serving the Complaint.

Cendali Decl. ¶ 12, Ex. D. Take-Two requested these documents at least ten times. Id. On

September 18, 2018, Defendant was served personally with the Summons, Complaint, and

related papers; proof of service was filed on September 26, 2018. Id. ¶ 8, Ex. B. Defendant
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failed to respond to the Complaint. Id. ¶ 9. Thus, on November 20, 2018, Take-Two requested a

Certificate of Default, resulting in the Clerk’s Certificate on November 21. See Dkts. 17–19;

Cendali Decl. ¶ 10, Ex. C.

                                                 ARGUMENT

         Federal Rule of Civil Procedure 55 provides a “two-step process” for obtaining a default

judgment. See City of N.Y., 645 F.3d at 128–29. First, under Federal Rule of Civil Procedure

55(a), the clerk must enter a notation of default when a party fails to defend. Here, Take-Two

has obtained a Certificate of Default from the Clerk. Cendali Decl. Ex. C. Second, upon

obtaining a clerk’s notation of default, “a plaintiff must next seek a judgment by default under

Rule 55(b).” New York v. Green, 420 F.3d 99, 104 (2d Cir. 2005).2 The balance of this brief

addresses this latter step.

I.       THIS COURT HAS JURISDICTION OVER TAKE-TWO’S CLAIMS

         This Court has federal question subject matter jurisdiction over Take-Two’s copyright

claim pursuant to 28 U.S.C. §§ 1331 and 1338. See Zipperer, 2018 WL 4347796, at *2.3

         Personal jurisdiction and venue are proper because Defendant was required to

affirmatively accept the terms of Take-Two’s User Agreement and the Terms & Conditions of

Take-Two’s Terms of Service (“Terms of Service”) multiple times as a pre-requisite to accessing

or playing GTAV, both of which contain a forum selection clause designating New York as the




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     Federal Rule 55(b)(2), in tandem with Local Rule 55.2(b) and this Court’s Individual Rules and Practices for
     Default Judgments, set forth certain procedural prerequisites that must be met before a default judgment may be
     entered. These include: (1) a signed Clerk’s certificate of default; (2) a copy of the pleadings; (3) proposed
     form of default judgment; and (4) an affidavit in support of the motion. See L.R. 55.2(b); Court’s Default
     Judgment Procedure; Fed. R. Civ. P. 55(b)(2). Here, the record shows that Take-Two has met the procedural
     requirements because it has submitted a declaration with the required information, a proposed default judgment
     order, copies of the pleadings, and the Clerk’s Certificate of Default.
3
     This Court also has supplemental jurisdiction over Take-Two’s state law claims pursuant to 28 U.S.C.
     § 1367(a), because those claims are substantially related to Take-Two’s federal claims.

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sole and exclusive venue for litigation. Compl. ¶¶ 11–22, Exs. 1–2. In Zipperer, the defendant

challenged Take-Two’s forum selection clause in Take-Two’s User Agreement, and the court

rejected that challenge, finding that the defendant “consented to [the] court’s jurisdiction” when

defendant accepted Take-Two’s User Agreement to play GTAV. Zipperer, 2018 WL 4347796,

at *3–4. The same reasoning should apply here. Moreover, Defendant, by his default, admits

that he consented. See City of N.Y., 645 F.3d at 137.

II.    DEFAULT JUDGMENT SHOULD BE AWARDED

       A.      Take-Two’s Well-Pleaded Complaint Establishes Defendant’s Direct and
               Contributory Copyright Infringement

       “A claim of copyright infringement . . . requires proof that (1) the plaintiff had a valid

copyright in the work allegedly infringed and (2) the defendant infringed the plaintiff’s copyright

by violating one of the exclusive rights that 17 U.S.C. § 106 bestows upon the copyright holder.”

Island Software & Comput. v. Microsoft, 413 F.3d 257, 260 (2d Cir. 2005).

       As to the first prong, Take-Two owns the copyrights to the creative expression in GTAV.

Compl. ¶ 25; see Castle Rock Entm’t, Inc. v. Carol Pub. Grp., Inc., 150 F.3d 132, 139 (2d Cir.

1998) (discussing the creative expression in plaintiff’s work). Moreover, it owns a U.S.

copyright registration for GTAV. Compl. ¶¶ 26–27, Ex. 3. As its registration was issued within

five years of GTAV’s publication, Compl. Ex. 3, it is “prima facie evidence of both valid

ownership of copyright and originality,” raising a presumption of validity. Associated Press v.

Meltwater U.S. Holdings, Inc., 931 F. Supp. 2d 537, 549 (S.D.N.Y. 2013); see also 17 U.S.C.

§ 410(c); Scholz Design, Inc. v. Sard Custom Homes, LLC, 691 F.3d 182, 186 (2d Cir. 2012).

Moreover, GTAV is a creative, original video game. Compl. ¶¶ 28, 42, 52.

       As to the second prong, the Infringing Program infringes Take-Two’s copyrights in two

ways. First, the Infringing Program creates unauthorized derivative versions of GTAV. Take-


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Two holds the exclusive right “to prepare derivative works based upon the copyrighted work.”

17 U.S.C. § 106(2). Unauthorized computer programs that add new features to a video game or

other software like the Infringing Program infringe this right. For example, in Take-Two

Interactive Software, Inc. v. Zipperer, a case involving a computer program that similarly

“created an alternative version of GTAV which is based on Take-Two’s GTAV but with added

elements that allow its users to use features not available in the original version of GTAV” was

held to “likely constitute[] a derivative work which Take-Two has the exclusive right to create.”

No. 18 Civ. 2608, 2018 WL 4347796, at *8 (S.D.N.Y. Aug. 16, 2018). Similarly, in Midway

Manufacturing Co. v. Artic International, Inc., the Seventh Circuit affirmed enjoining a

defendant that created a version of the Galaxian video game that operated at a higher speed than

authorized by the game developer, because doing so created a derivative work and infringed the

developer’s copyrights. 704 F.2d 1009, 1013 (7th Cir. 1983). And in Micro Star v. Formgen

Inc., the Ninth Circuit held that the defendant’s video game package of “user-created levels” was

a derivative work, because the alterations, when applied to Micro Star’s video game, relied on

the story and creative elements of the original game. 154 F.3d 1107, 1112 (9th Cir. 1998).4

        Here, Defendant’s Infringing Program infringes Take-Two’s derivative work right by

adding unauthorized elements to GTAV’s multiplayer feature GTAO. Compl. ¶¶ 1–2, 32, 37,

67; Andrews Decl. ¶¶ 4, 7. By adding such additional user elements without Take-Two’s

authorization, Defendant’s Infringing Program clearly infringes Take-Two’s copyrights for the

reasons discussed above. 17 U.S.C. § 106(2); see also Castle Rock, 150 F.3d at 135 (affirming

permanent injunction against derivative work).



4
    See also Dun & Bradstreet Software Servs. v. Grace Consulting, Inc., 307 F.3d 197, 208 (3d Cir. 2002) (holding
    that the defendant’s alteration of a copy of the plaintiff’s software to add additional features created an
    infringing derivative work).

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        Second, because use of the Infringing Program violates the licensing conditions in Take-

Two’s User Agreement, playing GTAV after having violated those terms is no longer licensed

and, thus, an infringement. Running a computer program requires a reproduction for purposes of

copyright law, because it creates a copy in the random access memory (RAM) of the user’s

computer. As a result, a license is required to operate a computer program or video game

software. MAI Sys. Corp. v. Peak Computer, Inc., 991 F.2d 511, 517 (9th Cir. 1993). In

recognition of this fact, software developers and video game publishers like Take-Two license

their legitimate users the right to operate their programs, but they also condition their licenses on

certain terms. See, e.g., Vernor v. Autodesk, Inc., 621 F.3d 1102 (9th Cir. 2010). When the

terms of the license are violated, the use is no longer licensed, resulting in copyright

infringement. See Zipperer, 2018 WL 4347796, at *8 (S.D.N.Y. Aug. 16, 2018) (Take-Two’s

“user agreement authorized [defendant] to run GTAV on his computer provided that he complied

with the terms of that agreement which included a prohibition on modifying the program and

creating derivative works based on the program. By creating [the Infringing Program] he likely

violated the terms of the user agreement. His continued use of GTAV, and the copies on his

computer each time he ran the program, are thus likely beyond the scope of his license from

Take-Two and constitute infringement”).5

        Here, the Complaint alleges that the license to use GTAV is conditioned on adherence to

Take-Two’s User Agreement. Compl. ¶¶ 30–31, 33, 45. Among other things, it prohibits the

creation of derivative works and cheating. Id. Of particular relevance to this case, the User

Agreement states that the license is conditioned on the user agreeing (1) “not to . . . prepare




5
    See also Vernor, 621 F.3d at 1112 (holding that unlicensed operation of software violates copyright holder’s
    reproduction right).

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derivative works based on, or otherwise modify the Software, in whole or in part,” (2) “not to . .

. restrict or inhibit any other user from using and enjoying any online features of the Software,”

and (3) “not to . . . cheat . . . or utilize any unauthorized robot, spider, or other program in

connection with any online features of the Software.” Compl. ¶ 30, Ex. 1. The Infringing

Program does all of these prohibited things. Compl. ¶¶ 1–2, 32, 37, 67. As a result, by setting

up and allowing others to play the Infringing Program, which is itself unlicensed, Defendant’s

use constitutes copyright infringement. See Zipperer, 2018 WL 4347796, at *8; Vernor, 621

F.3d at 1112; Touro Coll., 2017 WL 4082481, at *12 n.15.

                                                 ***

        In addition to Defendant’s own direct liability, he also is contributorily liable for the

same infringement by the Infringing Program’s users because Defendant (a) had knowledge that

the users he distributed the Infringing Program to were creating derivative works of GTAV and

(b) contributed to such use by providing them with the means to engage in infringement (i.e., the

Infringing Program). Compl. ¶¶ 51–63; see EMI Christian Music Grp., Inc. v. MP3tunes, LLC,

844 F.3d 79, 99–100 (2d Cir. 2016) (rejecting defendant’s challenge to jury finding of

contributory infringement and noting that “[a] contributory infringer is ‘one who, with

knowledge of the infringing activity, induces, causes or materially contributes to the infringing

conduct of another’”).

        Accordingly, Defendant has infringed Take-Two’s copyrights in two, distinct ways both

directly and contributorily. Take-Two respectfully requests that default judgment be granted on

Counts I and II of the Complaint. See, e.g., McGraw-Hill Glob. Educ. Holdings, LLC v. Khan,

323 F. Supp. 3d 488, 501 (S.D.N.Y. 2018) (granting motion for default judgment where plaintiff

alleged defendant’s instructor solutions manual were derivative works).

        B.      Take-Two’s Well-Pleaded Complaint Establishes Defendant’s Liability for
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               Breach of Contract and Tortious Interference With Contract

       A breach of contract claim is established under New York law where there is “(1) the

existence of an agreement; (2) adequate performance of the contract by the plaintiff; (3) breach

of contract by the defendant; and (4) damages.” See Muench Photography, Inc. v. McGraw-Hill

Cos., No. 12 Civ. 6595, 2013 WL 5372785, at *3 (S.D.N.Y. Aug. 15, 2013).

       Here, the Complaint alleges that “Take-Two’s User Agreement is a valid and enforceable

contract.” Compl. ¶ 65. It further alleges that “Take-Two has fully performed or tendered all

performance required under the User Agreement.” Id. ¶ 66. It alleges that “Defendant has

breached his obligations under the User Agreement by (1) altering GTAV and creating derivative

works based on it; (2) restricting and inhibiting others from using and enjoying GTAV; and/or

(3) cheating and using unauthorized programs in connection with GTAV’s online features.” Id. ¶

67. And the Complaint alleges Take-Two has been damaged as a result of Defendant’s conduct.

Id. ¶¶ 1–2, 9, 38, 68. These allegations establish Defendant’s liability for breach of contract. See

Muench, 2013 WL 5372785, at *4.

       A tortious interference with contract claim also is established in cases like this one where

the defendant “induced or intentionally procured other players’ breach of the user agreement.”

Zipperer, 2018 WL 4347796, at *6 (Take-Two adequately stated tortious interference with

contract claim where Take-Two alleged that “other players breached their user agreement with

Take-Two by using the cheat programs that [defendant] made and sold” and that defendant

“induced and continues to induce other GTAV players to breach their user agreements with

Take-Two by creating and selling the cheat programs to them”); see also Ullmannglass v.

Oneida, Ltd., 86 A.D.3d 827, 829, 927 N.Y.S.2d 702, 705 (3d Dep’t 2011) (holding that a

tortious interference with contract claim is established where a “valid contract existed which a

third party knew about, the third party intentionally and properly procured the breach of the
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contract and the breach resulted in damage to the plaintiff”).

       Here, “Mr. Perez has induced . . . other GTAV players to breach their contractual

responsibilities by using the Infringing Program for purposes expressly prohibited by the User

Agreement.” Compl. ¶ 73. Moreover, “Mr. Perez’s actions in inducing these breaches of

contract are intentional, illegal, and have been engaged in for the specific purpose of inducing

the GTAV players using the Infringing Program to breach their agreements with Take-Two.” Id.

¶ 74. These allegations thus are sufficient to establish Defendant’s tortious interference with

contract. Zipperer, 2018 WL 4347796, at *6; Ullmannglass, 86 A.D.3d at 829.

       Accordingly, default judgment is proper on Take-Two’s breach of contract and tortious

interference with contract claims. See e.g., Hounddog Prods., L.L.C. v. Empire Film Grp., Inc.,

826 F. Supp. 2d 619 (S.D.N.Y. 2011); Schmid, Inc. v. Zucker's Gifts, Inc., 766 F. Supp. 118, 123

(S.D.N.Y. 1991).

III.   DEFENDANT SHOULD BE PERMANENTLY ENJOINED

       In addition to entry of default judgment, Take-Two respectfully requests that the Court

permanently enjoin Defendant from further infringement in accordance with Take-Two’s

proposed order submitted herewith. The Copyright Act provides that a federal court has the

power to issue “final injunctions on such terms as it may deem reasonable to prevent or restrain

infringement of a copyright.” 17 U.S.C. § 502(a). “[P]ermanent injunctions are generally

granted where liability has been established and there is a threat of continuing infringement.” U2

Home Entm't, Inc. v. Fu Shun Wang, 482 F. Supp. 2d 314, 319 (E.D.N.Y. 2007). Where a

defendant defaults, courts will infer that the defendant “is willing to continue its infringement.”

Hounddog Prods., 826 F. Supp. 2d at 633.

       To obtain a permanent injunction, Take-Two must “satisfy the traditional four-factor test”

by demonstrating (1) “success on the merits,” (2) “irreparable injury in the absence of an
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injunction,” (3) the balance of hardships tips in [its] favor,” and (4) the “public interest would not

be disserved” by the issuance of an injunction. McGraw-Hill, 323 F. Supp. 3d at 500 (quoting

Salinger v. Colting, 607 F.3d 68, 79–80 (2d Cir. 2010)). For the reasons explained below, each

of these factors weighs in favor of the issuance of a permanent injunction.

        A.      Success on the Merits

        For the reasons explained above, Take-Two has succeeded on the merits of its copyright

infringement, breach of contract, and tortious interference with contract claims. See supra 6–11.

        B.      Take-Two Has Been Irreparably Harmed

        A permanent injunction is available where the plaintiff “will suffer irreparable harm if an

injunction is not issued.” McGraw-Hill, 323 F. Supp. 3d at 499. “Harm might be irremediable,

or irreparable, for many reasons, including that a loss is difficult to replace or difficult to

measure, or that it is a loss that one should not be expected to suffer.” Hounddog Prods., 826 F.

Supp. 2d at 632 (citation omitted). The Complaint alleges that Take-Two has been irreparably

harmed. Compl. ¶¶ 1, 37–40, 48, 61. In particular, Take-Two is irreparably harmed by

Defendant’s actions in three separate ways.

        First, courts find irreparable harm where a plaintiff would lose control over the plan for

its copyrighted work. See, e.g., McGraw-Hill, 323 F. Supp. 3d at 499–500 (irreparable harm

found where plaintiffs would be prevented from “controlling the distribution of their products

and recovering associated profits”).

        Defendant’s Infringing Program causes Take-Two to lose control over Take-Two’s plan

for how GTAV’s multiplayer feature GTAO is designed to be played. McGraw-Hill, 323 F.

Supp. 3d at 499–500. By adding features such as teleporting, the creation of objects, and other

unauthorized features, Defendant has altered Take-Two’s work for himself in disregard of Take-

Two’s User Agreement and copyrights, to exploit GTAV for his own economic advantage.

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WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 285 (2d Cir. 2012) (irreparable harm found where

defendant’s infringing conduct “would dilute plaintiffs’ . . . control over their product”). Take-

Two expends countless hours to create innovative, popular games. Compl. ¶ 28. If everyone

were allowed to alter GTAV for profit, it would cause significant harm to Take-Two, its

carefully crafted game model, and incentives to develop new games. Losing control over how

GTAV is designed to be played is a quintessential example of a company losing control over its

copyrighted works and its statutorily granted right to exploit such works to its own commercial

advantage. See McGraw-Hill, 323 F. Supp. 3d at 499–500.

       Second, courts “routinely find the harm suffered by plaintiffs in copyright cases to be

‘irreparable’ on the theory that . . . diminished reputation can be difficult if not impossible to

measure.” Broad. Music, Inc. v. Prana Hosp., Inc., 158 F. Supp. 3d 184, 195 (S.D.N.Y. 2016)

(granting permanent injunction); see also Ideavillage Prod. Corp. v. Bling Boutique Store, No.

16 Civ. 9039, 2018 WL 3559085, at *5 (S.D.N.Y. July 24, 2018) (“irreparable injury to the

reputation of [plaintiff’s] products” supported permanent injunction).

       Here, the unlimited availability of Defendant’s Infringing Program will cause untold,

irreparable harm to the reputation of Take-Two because Take-Two’s business depends on

maintaining a positive reputation among video game consumers and ensuring users continue to

enjoy playing and purchasing Take-Two video games. Andrews Decl. ¶ 8. Defendant’s

Infringing Program interferes with the enjoyment of Take-Two’s game by consumers who have

not installed the Infringing Program. Id. And consequently, Take-Two’s reputation for

maintaining the integrity of its gaming environment will be harmed, discouraging users from

future purchases and game play. See Midway Mfg. Co. v. Artic Int’l, Inc., 547 F. Supp. 999,

1014 (N.D. Ill. 1982) (irreparable harm found where defendant’s “speed-up kit” altered



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plaintiff’s game in a way that made it “considerably more difficult, for the unskilled player in

particular” and where it was “very possible, if not likely, that that [would] discourage those

individuals from playing [plaintiff’s] video games”), aff’d, 704 F.2d 1009.

        Once consumers decide to stop playing GTAV or stop buying Take-Two products, it will

be very difficult to un-ring that bell. Consumers who purchased GTAV in the past to play

GTAO may never return to the game in the future. Andrews Decl. ¶ 11. And this harm

ultimately affects Take-Two’s business model, customer relations, and the gaming industry. Id.

¶ 10; Adv. Access v. Content Sys. Licensing Adm’r, LLC v. Tao, 689 F. App’x 661, 662 (2d Cir.

2017) (irreparable harm found where defendant was “undermin[ing plaintiff’s] business model”);

WPIX, 691 F.3d at 285 (irreparable harm found where defendant’s television streaming program

would “drastically change the industry, to plaintiffs’ detriment”). Thus, an injunction to stop the

disruption and alteration of the game experience is essential. See Midway, 547 F. Supp. at 1015.

        Finally, courts find harm irreparable where there would be a “significant undercutting of

[plaintiff’s] price points.” MPD Accessories B.V. v. Urban Outfitters, No. 12 Civ. 6501, 2014

WL 2440683, at *10 (S.D.N.Y. May 30, 2014). Here, as part of Take-Two’s game, users can

choose to enhance their gaming experience through the use of certain items, but users must either

earn the currency through gameplay or users must purchase the currency and items from Take-

Two. Compl. ¶ 32; Andrews Decl. ¶ 9. With Defendant’s Infringing Program, gamers can have

unlimited digital currency and other items for the low price of $10, $20, or $30, currency and

items which would otherwise need to be earned or purchased from Take-Two. Andrews Decl. ¶¶

3, 9.

        In Zipperer, the court found irreparable harm and granted an injunction holding that

“cheat programs [that] allow users to get unlimited currency without purchasing it from Take-



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Two . . . undermines Take-Two’s pricing model.” Zipperer, 2018 WL 4347796 at *9. Thus,

here, the unlimited digital currency and other items made available by Defendant’s Infringing

Program similarly circumvents Take-Two’s normal processes, and undermines Take-Two’s

business model and the pricing of its currency and in-game items. See also MPD, 2014 WL

2440683, at *10; see also Adv. Access Content Sys. Licensing Adm’r, LLC v. Tao, 689 F. App’x

661, 662 (2d Cir. 2017) (affirming injunction and finding of irreparable harm where defendant’s

action would allow users to circumvent encryptions on plaintiff’s software thereby

“undermin[ing plaintiff’s] business model”). Purchases of legitimate currency and other items

from Take-Two are important to Take-Two’s business, as such purchases support the continued

development of high-quality, state of the art video games. Andrews Decl. ¶ 9; see WPIX, 691

F.3d at 285 (irreparable harm found where quantity and quality of efforts to create new works

would be diminished by defendant’s conduct, as would the value of new works).6

                                                *        *        *

        In sum, Defendant’s Infringing Program has caused immediate, untold harm to Take-

Two’s business and the value of its copyrights, and deprived Take-Two of the control over its

copyrighted software. This harm cannot be corrected through mere damages. Accordingly,

permanent injunctive relief is proper. Hounddog Prods., 826 F. Supp. 2d at 619.

        C.       The Balance of Hardships Favors Take-Two

        In assessing whether the balance of hardships weighs in favor of granting a preliminary



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    Moreover, monetary damages are insufficient to compensate Take-Two for the harm it has suffered and will
    suffer if Defendant’s infringements continue. The damages that Take-Two will suffer cannot be quantified
    readily, as damages are notoriously difficult to calculate in copyright infringement cases. Zipperer, 2018 WL
    4347796 at *9; Salinger v. Colting, 607 F.3d 68, 81 (2d Cir. 2010) (“[C]ourts have tended to issue injunctions in
    this context because ‘to prove the loss of sales due to infringement is . . . notoriously difficult.’”). Take-Two
    would have no way of knowing how much revenue it will lose as a result of Defendant’s Infringing Program.
    Andrews Decl. ¶ 11; Zipperer, 2018 WL 4347796 at *9; Tecnimed SRL v. Kidz-Med, Inc., 763 F. Supp. 2d 395,
    411 (S.D.N.Y. 2011), aff’d, 462 F. App’x 31 (2d Cir. 2012); BMI, 158 F. Supp. 3d at 195.

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injunction, “courts must balance the competing claims of injury and must consider the effect on

each party of granting or withholding the requested relief.” Winter v. Natural Resources Defense

Council, Inc., 555 U.S. 7, 24 (2008). For example, where “the absence of an injunction would

result in the continued infringement of [a copyright holder’s] property interests in the copyright

material,” it supports granting an injunction. See WPIX, 691 F.3d at 287. By contrast, losing the

opportunity to infringe the copyright holder’s content does not weigh against granting an

injunction. See Rovio Entm’t Ltd. v. Allstar Vending Ltd., 97 F. Supp. 3d 536, 547 (S.D.N.Y.

2015) (finding balance of hardships tipped in plaintiff’s favor where defendant’s only harm was

losing the chance to copy plaintiff’s copyrighted video games).

        As noted above, the harm to Take-Two is substantial. See supra 12–15; Compl. ¶¶ 1, 37–

40, 48, 61; Andrews Decl. ¶¶ 6–11. In contrast to the harm that Take-Two will suffer,

Defendant’s only “harm” from Take-Two’s requested injunctive relief is that he will no longer

be able to infringe GTAV and reap the profits from doing so. But the Second Circuit has made

clear that a defendant “cannot be legally harmed by the fact that it cannot continue” infringing a

plaintiff’s copyrighted work, “even if this ultimately puts [the defendant] out of business.”

WPIX, 691 F.3d 287; SimplexGrinnell LP v. Integrated Sys. & Power, Inc., 642 F. Supp. 2d 167,

197 (S.D.N.Y. 2009) (“loss of the ability to engage in unauthorized conduct and the concomitant

business opportunities that such activities provide” did not constitute hardship).7 All that

Defendant risks losing is the ability to infringe Take-Two’s copyrights, which is not a legally

cognizable harm. Accordingly, the balance of the hardships favors entry of Take-Two’s


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    See also Zipperer, 2018 WL 4347796, at *11 (balance tipped in Take-Two’s favor where defendant identified
    no injury he would suffer if an injunction issued and noting that “[i]n any event, a defendant does not suffer a
    legal harm by the fact that it cannot continue to infringe on the plaintiff’s copyright”); Atari, Inc. v. N. Am.
    Philips Consumer Elecs. Corp., 672 F.2d 607, 620 (7th Cir. 1982) (finding that balance of hardships did not
    weigh against entry of preliminary injunction where defendant’s “only alleged hardship is the profits it would
    lose if enjoined” from marketing defendant’s infringing video game).

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proposed injunction.

       D.      The Public Interest Will be Served by the Issuance of an Injunction

       In this case, the public will be served by the issuance of injunctive relief for multiple

reasons. First, in Zipperer, the court found that there is a strong public interest in protecting

“legitimate users of GTAV [who] are harmed by programs such as [Defendant’s Infringing

Program] that permit . . . users to disadvantage players who do not use the cheat programs and

give to their users unlimited digital currency with which to purchase added features that GTAV’s

legitimate users do not have access to or must purchase from Take-Two.” 2018 WL 4347796, at

*11; see also generally Midway, 547 F. Supp. at 1015 (granting injunction against defendant’s

infringing “speed-up” kits that “alter[ed] the play of [plaintiff’s] game”). Gamers will still be

able to play GTAV, but they must do so in a manner consistent with Take-Two’s User

Agreement to avoid disruptive gameplay. WPIX, 691 F.3d at 288 (public interest not harmed by

granting an injunction where “the public will still be able to access plaintiff’s programs through

means other than defendant’s services”).

       Second, “the public’s interest in protecting Take-Two’s investment in creating video

games is promoted by issuing the requested injunction.” Zipperer, 2018 WL 4347796, at *11.

Warner Bros. Entm’t v. RDR Books, 575 F. Supp. 2d 513, 553 (S.D.N.Y. 2008) (strong public

interest in “prevent[ing] the misappropriation of the skills, creative energies, and resources which

are invested in the protected work”). Take-Two invests considerable resources in creating some

of the most cutting-edge games in the world, including GTAV. Compl. ¶ 28. The public

benefits by ensuring that Take-Two’s investment is protected and that Take-Two is able to

continue to invest in new, fun games for the public. See Kirtsaeng v. John Wiley & Sons, Inc.,

136 S.Ct. 1979, 1982 (1975) (Copyright Act’s purpose is to encourage “and reward” innovation).

       Third, beyond creating additional incentives for production, the public has an additional
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interest in ensuring that creators maintain the integrity of their works by “secur[ing] the rights of

[their] creative activity.” Kurt S. Alder, Inc. v. World Bazaars, Inc., No. 95 Civ. 5610, 1995 WL

457991 at *1 (S.D.N.Y. 1995). The Copyright Act is designed not only to incentivize creation,

but also to ensure that creators are able to reap the benefits of their creation without fear of free-

riding or misappropriation, while maintaining the creative integrity over their work. See

Midway, 547 F. Supp. at 1015 (noting that “[t]he Copyright Act evidences a public interest in

creativity by demonstrating an intent to provide an economic reward for creative expression”).

       Defendant’s unauthorized Infringing Program deprives Take-Two of both the benefits of

its creative works and the ability to control how its game is designed to be played. Andrews

Decl. ¶ 7. This is contrary to the policies underlying the Copyright Act and undermines the

public interest in promoting these policies. The public interest clearly favors issuance of an

injunction.

IV.    STATUTORY DAMAGES FOR DEFENDANT’S COPYRIGHT INFRINGEMENT
       SHOULD BE AWARDED

       Take-Two has elected to recover statutory damages for copyright infringement pursuant

to 17 U.S.C. § 504(c). For the reasons explained further below, Take-Two respectfully requests

that the Court award the statutory maximum of $150,000. 17 U.S.C. § 504(c)(2).

       Statutory damages under the Copyright Act “serves two purposes—compensatory and

punitive.” Richard Feiner and Co., Inc. v. Passport Int’l Prods., Inc., No. 97 Civ. 9144, 1998

WL 437157, at *2 n.13 (S.D.N.Y. July 31, 1998). “Where a defendant has acted willfully, ‘a

statutory award should incorporate not only a compensatory, but also a punitive component to

discourage further wrongdoing by the defendants and others.’” See Hounddog Prods., 826 F.

Supp. 2d at 631.

       The Copyright Act permits a maximum award of $150,000.00 in statutory damages for


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willful infringement. 17 U.S.C. § 504(c)(2). As Your Honor has acknowledged, “[t]he Court, in

exercising its discretion to determine statutory damages, considers factors including ‘(1) the

infringer’s state of mind; (2) the expenses saved, and profits earned by the infringer; (3) the

revenue lost by the copyright holder; (4) the deterrent effect on the infringer and third parties; (5)

the infringer’s cooperating in providing evidence concerning the value of the infringing material;

and (6) the conduct and attitude of the parties.” John Wiley & Sons, Inc. v. Williams, No. 12 Civ.

0079, 2012 WL 5438917, at *2 (S.D.N.Y. Nov. 5, 2012) (Castel, J.). In cases “where the

infringer fails to appear,” however, courts recognize that “[m]any of these factors are . . .

impossible to consider.” Jordan Mozer & Assocs., Ltd. v. Starck, No. 13 Civ. 1181, 2014 WL

1327960, at *2 (S.D.N.Y. Apr. 3, 2014). In such circumstances, “[r]ather than rewarding

infringers . . . courts ‘draw[ ] every reasonable inference on these points against defendants.” Id.

Moreover, where a defendant has defaulted, “the complaint’s allegations of willfulness can be

taken as true.” Dweck v. Amadi, No. 10 Civ. 2577, 2011 WL 3809907, at *4 (S.D.N.Y. July 26,

2011) (collecting cases), R&R adopted, No. 10 Civ. 2577, 2011 WL 3809891 (S.D.N.Y. Aug.

29, 2011); see also Hounddog Prods., 826 F. Supp. 2d at 631 (“Courts frequently infer

willfulness where a defendant defaults.”). Each of the factors outlined in John Wiley favors

issuance of maximum damages.

       First, Take-Two pleaded in its Complaint that Defendant’s “infringement of Take-Two’s

copyrights has been deliberate, willful and in utter disregard of Take-Two’s rights.” Compl.

¶¶ 46, 59; see also id. ¶¶ 1, 3–5, 38, 50, 63. Because Defendant has defaulted, Take-Two’s

allegations of willfulness are accepted as true. Dweck, 2011 WL 3809907, at *4; Hounddog

Prods., 826 F. Supp. 2d at 631.

       Moreover, with respect to Defendant’s state of mind, his cooperation in providing



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evidence concerning the value of the infringing material, and his conduct and attitude—i.e.

Factors One, Five, and Six—Defendant repeatedly refused Take-Two’s requests to produce his

financial documents, documents which would have shown the value of Defendant’s Infringing

Program. Cendali Decl. Ex. D. Indeed, Take-Two requested that Defendant provide Take-Two

with those documents on no less than ten occasions in an attempt to resolve this dispute without

court intervention. See generally id. Yet, Defendant ignored Take-Two’s correspondence and

never provided the documents. Id. ¶¶ 12–13. Defendant’s “disregard demonstrates an attitude of

blatant indifference” that is willful and places “particular emphasis” on “the conduct and attitude

of the parties” prong. See Broad. Music, Inc. v. The Living Room Steak House, Inc., No. 14 Civ.

6298, 2016 WL 756567, at *6 (E.D.N.Y. Feb. 26, 2016) (willfulness established where plaintiff

“was in constant and one-sided communication with the [d]efendants” who “did not respond to

any of [plaintiff’s] correspondence”), R&R adopted sub nom. Broad. Music, Inc. v. Living Room

Steak House, Inc., No. 14 Civ. 06298, 2016 WL 1056609 (E.D.N.Y. Mar. 17, 2016); Broad.

Music, Inc. v. Wexford INR LLC, No. 12 Civ. 1253, 2014 WL 4626454, at *11 (N.D.N.Y. Sept.

15, 2014) (defendants’ “culpable state of mind” and “general strategy of delay and

noncompliance . . . weigh[ed] in favor of awarding Plaintiffs’ requested statutory damages”).

        Second, with respect to the profits earned by the infringer—i.e. Factor Two—because

Defendant failed to appear, Take-Two has been unable to conduct discovery to ascertain

Defendant’s sales and profits from his Infringing Program, documents which are in Defendant’s

control. And with respect to the revenue lost by the copyright holder—i.e. Factor Three—for the

reasons explained above, the harm to Take-Two’s business is irreparable and difficult to

quantify.8 See supra 15. Although damages are difficult to calculate, Take-Two has estimated



8
    Moreover, GTAV “is of great value to Take-Two” and it “was the product of Take-Two’s skills, resources, and

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that it has been harmed “at a minimum, $500,000.00.” Compl. ¶¶ 38, 50. Nevertheless, the

absence of such evidence does not impair Take-Two’s entitlement to statutory damages. See

Jordan Mozer & Assocs., 2014 WL 1327960, at *2 (awarding $150,000 in statutory damages

where defendant failed to appear); Tu v. TAD Sys. Tech. Inc., No. 08 Civ. 3822, 2009 WL

2905780, at *6 (E.D.N.Y. Sept. 10, 2009) (awarding $150,000 in statutory damages even though

“[b]ecause of Defendants’ default in this matter, the Court ha[d] almost no evidence to adjudge

[actual damages]”); Arista Records LLC v. Usenet.com, Inc., No. 07 Civ 8822, 2010 WL

3629688, at *5 (S.D.N.Y. Feb. 2, 2010) (awarding statutory damages where plaintiffs

“established direct harm to their business by Defendants’ infringing conduct—even if such harm

is not easily quantified”), R&R adopted, No. 07 Civ 8822, 2010 WL 3629587 (S.D.N.Y. Sept.

16, 2010).9

        Third, with respect to the deterrent effect on the infringer and third parties—i.e. Factor

Four—a maximum award would deter Defendant and other infringers from creating similar

cheating tools that modify and alter GTAV. BMI., 2014 WL 4626454, at *11 (“deterrent effect”

that statutory damages would have on defendants and third parties “weigh[ed] in favor of

awarding Plaintiffs’ requested statutory damages”); Dweck, 2011 WL 3809907, at *5 (statutory

damages appropriate to “deter similar infringements in the future”). Indeed, Defendant is not

alone in his effort to create, distribute, and maintain a program that alters and modifies Take-




    creative energies.” Compl. ¶ 28.
9
    See also Dweck, 2011 WL 3809907, at *3 (awarding statutory damages where plaintiff was unable to conduct
    discovery to ascertain defendants’ actual financial benefit due to defendants’ failure to appear and the harm to
    plaintiff was “the risk of alienating plaintiff’s customer base”); Pearson Educ., Inc. v. Nugroho, No. 08 Civ.
    8034, 2009 WL 3429610, at *5 (S.D.N.Y. Oct. 27, 2009) (“[T]he copyright owner may elect to recover
    statutory damages, instead of actual damages and defendant's profits. He may, moreover, make such an election
    regardless of the adequacy of the evidence offered as to his actual damages and the amount of defendant’s
    profits, and even if he has intentionally declined to offer such evidence, although it was available.”), R&R
    adopted, No. 08 Civ. 8034, 2009 WL 4884098 (S.D.N.Y. Dec. 16, 2009).

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Two’s game, which is then sold to users for profit. Take-Two already has been forced to bring

several lawsuits in the United States and around the world against other infringers. See, e.g.,

Zipperer, 2018 WL 4347796, at *1; Take-Two Interactive Software, Inc. v. Cameron, No. 18

Civ. 02981 (S.D.N.Y.).10 In one such case, the defendant “secretly started developing and

distributing [a new] program” after Take-Two had informed him that operating his original

program “violated the terms of his user agreement and infringed Take-Two’s copyright.”

Zipperer, 2018 WL 4347796, at *10. Accordingly, an award of $150,000 in statutory damages

“as a deterrent not only to the current Defendant, but as a general deterrent to others who may

contemplate engaging in [similar] infringing behavior in the future” is appropriate. See Elec.

Creations Corp. v. Gigahertz, Inc., No. 12 Civ. 1423, 2013 WL 3229125, at *6 (N.D.N.Y. June

25, 2013) (awarding maximum statutory damages); see also Arista, 2010 WL 3629688, at *6

(awarding statutory damages where it was “well documented that Defendants [were] not alone in

their pursuit” to infringe plaintiffs’ works on the Internet and noting “the need to deter future

infringers” was “great”).

         Finally, courts routinely award maximum statutory damages, or at a minimum, an award

at the higher end of the range of permissible damages, including in cases where the defendant

defaults. See e.g., Jordan Mozer & Assocs., Ltd., 2014 WL 1327960, at *2 ($150,000 in

statutory damages appropriate where defendant defaulted); Hounddog Prods., 826 F. Supp. 2d at

632 (same); Tu, 2009 WL 2905780, at *6 (same).11


10
     See also Take-Two Interactive Software, Inc. v. James, Claim No. IL-2018-000094, High Court, Chancery
     Division; Take-Two Interactive Software, Inc. v. Anderson (Federal Court of Australia, No. NSD1751/2018);
     Take-Two Interactive Software, Inc. v. Daldal, Landgericht Hamburg (District Court Hamburg), 312 O 198/18;
     Take-Two Interactive Software, Inc. v. Daldal, Landgericht Köln (District Court Cologne), 14 O 182/18; Take-
     Two Interactive Software, Inc. v. Arnolfo, No. 24057/2018 (Court of Turin); Take-Two Interactive Software,
     Inc. v. Muška, No. 23Nc 52/2018 (KS Brno); Take-Two Interactive Software, Inc. v. Paulík, No. 46Nc
     2007/2018 (KS Plzeň); Take-Two Interactive Software, Inc. v. McCormick, No: A247/18, Intellectual Property
     Court, Court of Session.
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     See also Entral Grp. Int’l, LLC v. Honey Cafe on 5th, Inc., No. 05 Civ. 2290, 2006 WL 3694584, at *6

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         Thus, in light of Defendant’s willful infringement, Take-Two’s “well-established and

highly valuable copyright,” the need for deterrence, and Defendant’s “refus[al] to litigate [his]

infringement such that it would be possible to calculate actual damages,” Take-Two respectfully

requests that the Court award maximum statutory damages of $150,000. Brighton, 2017 WL

7833608, at *5; see also Jordan Mozer & Assocs., Ltd., 2014 WL 1327960, at *2; Kepner-

Tregoe, Inc. v. Vroom, 186 F.3d 283, 288 (2d Cir. 1999) (then-maximum statutory damages

“justified” in light of defendant’s willfulness and “statutory goal of deterrence”).

V.       TAKE-TWO’S ATTORNEY’S FEES SHOULD BE AWARDED

         In addition to statutory damages, Take-Two seeks to recover $69,686.95 in attorney’s

fees that it accrued through November 30, 2018. The Copyright Act permits an award of

reasonable attorney’s fees to the prevailing party. 17 U.S.C. § 505. “A court deciding whether

to award fees . . . may consider, among other things, ‘frivolousness, motivation, objective

unreasonableness (both in the factual and in the legal components of the case) and the need in

particular circumstances to advance considerations of compensation and deterrence.’” Broad.

Music, Inc. v. Pamdh Enterprises, Inc., No. 13 Civ. 2255, 2014 WL 2781846, at *5 (S.D.N.Y.

June 19, 2014) (quoting Fogerty v. Fantasy, Inc., 510 U.S. 517, 534 n.19 (1994)). Where the

defendant has acted willfully, an award of attorney’s fees is “justified” and “in line with the

statutory goal of deterrence.” Kepner-Tregoe, 186 F.3d at 289. A defendant’s “default weighs

in favor of such an award.” Sands v. Hologram USA Networks, Inc., No. 17 Civ. 09692, slip op.



     (E.D.N.Y. Dec. 14, 2006) (same); Elec. Creations, 2013 WL 3229125, at *6 (same); Brighton Collectibles, LLC
     v. IPPO Jewelry Corp., No. 16 Civ. 06065, 2017 WL 7833608, at *5 (C.D. Cal. Feb. 22, 2017) (same); Blizzard
     Entm't, Inc. v. Vankuipers, No. 10 Civ. 1495, 2011 WL 13225129, at *3 (C.D. Cal. July 11, 2011) (same);
     MDM Grp. Assocs., Inc. v. L.A. Real Estate, No. 10 Civ. 0234, 2010 WL 5239250, at *2 (S.D. Ala. Dec. 14,
     2010) (same); DisputeSuite.com, LLC v. Credit Umbrella Inc., No. 14 Civ. 6340, 2016 WL 6662722, at *6
     (C.D. Cal. Apr. 25, 2016) (same); Am. Bd. of Internal Med. v. Mittman, No. 08 Civ. 929, 2010 WL 11520544, at
     *3 (C.D. Cal. Dec. 6, 2010) (same), aff’d, 543 F. App’x 680 (9th Cir. 2013); Lions Gate Films Inc. v. Saleh, No.
     214 Civ. 06033, 2016 WL 6822748, at *5 (C.D. Cal. Mar. 24, 2016) (same).

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at 4 (S.D.N.Y. Oct. 1, 2018) (Castel, J.); see also Jordan Mozer, 2014 WL 1327960, at *3.

       Here, Defendant’s motivation, unreasonableness, and deterrence all support an award of

attorney’s fees. First, Take-Two “tried diligently to protect [its] interests without resort to

litigation,” repeatedly advising Defendant that it needed Defendant’s records of his profits to

resolve the litigation without court intervention. BMI, 2014 WL 2781846, at *5 (awarding

attorney’s fees where defendant ignored plaintiffs’ efforts to to enter a licensing agreement);

Cendali Decl. Ex. D. Indeed, Take-Two first requested those records in April 2018 and followed

up in its request no less than ten times, forcing Take-Two to file this lawsuit when those

documents were not provided. Id. Second, “[d]eterrence supports awarding fees . . . given

Defendant[’]s disregard for [Take-Two’s] copyrights” and that Take-Two’s efforts to resolve this

dispute “have been ignored.” BMI, 2014 WL 2781846, at *5. Third, Defendant’s “objective

unreasonableness . . . is evidenced by [his] failure to even appear in this suit.” Id. An award of

attorney’s fees is thus appropriate.

       When determining “reasonableness” of the requested attorney’s fee, courts start with the

“lodestar” method, multiplying the number of hours reasonably expended on the litigation by a

reasonable hourly rate. See City of Burlington v. Dague, 505 U.S. 557, 559 (1992); Blanchard v.

Bergeron, 489 U.S. 87, 94 (1989). “To determine what constitutes a ‘reasonable’ hourly rate,

courts are to consider the ‘prevailing market rates in the relevant community.’” Regeneron

Pharm., Inc. v. Merus N.V., No. 14 Civ. 1650, 2018 WL 3425013, at *3 (S.D.N.Y. June 25,

2018). “In order to calculate the reasonable hours expended, the . . . fee application must be

supported by contemporaneous time records, affidavits, and other materials.” Id.

       Here, Take-Two’s request for attorney’s fees is based on the reasonable time billed and

charged at the reasonable hourly rates of Kirkland’s attorneys, paralegal, and support staff.



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Take-Two has adequately supported its claim for attorney’s fees by submitting an attorney

declaration, time records, and a statement regarding each attorney’s individual billing rate.

Cendali Decl. ¶ 17, Ex. E. Moreover, courts in this District have held that Take-Two’s law firm,

Kirkland & Ellis LLP, has a “reasonable” partner and associate billing rate. See Regeneron,

2018 WL 3425013, at *6 (granting defendant’s motion for attorneys’ fees). Rates that are

comparable to Kirkland also have been found reasonable in this District. See e.g., MSC

Mediterranean Shipping Co. Holding S.A. v. Forsyth Kownacki LLC, No. 16 Civ. 8103, 2017

WL 1194372, at *3 (S.D.N.Y. Mar. 30, 2017) (finding associate billing rates of $569-$753 per

hour and partner billing rates of $874-$1,048 were “reasonable” rates for a litigation that was

“not particularly complex”). Various billing reports show that Kirkland’s billing rates are

comparable to its peer law firms for similar services. Cendali Decl. Exs. G, H. Moreover, the

fact that Take-Two’s fees and rates reflected in documentation were actually negotiated and

billed to Take-Two also is strong evidence of reasonableness. Arbor Hill Concerned Citizens

Neighborhood Ass’n v. Cnty. of Albany, 522 F.3d 182, 190 (2d Cir. 2008) (“The reasonable

hourly rate is the rate a paying client would be willing to pay.”); Anderson v. YARP Rest., Inc.,

No. 94 Civ. 7543, 1997 WL 47785, at *2 (S.D.N.Y. Feb. 6, 1997) (“The best evidence of a

reasonable fee rate is the amount actually charged by counsel.”). Thus, Take-Two’s attorney’s

fees are reasonable, and it respectfully requests reimbursement in full.

                                         CONCLUSION

       For the foregoing reasons, Take-Two respectfully requests that this Court grant Take-

Two’s motion for default judgement against Defendant Jhonny Perez, permanently enjoin

Defendant, and award $150,000 in statutory damages and $69,686.95 in attorney’s fees.




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Dated: New York, New York
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